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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 EDWARD STEVENS,
                                                Case No. 3:14-cv-00403-REB
                      Petitioner,
                                                MEMORANDUM DECISION AND
        v.                                      ORDER GRANTING PETITION FOR
                                                WRIT OF HABEAS CORPUS
 TEREMA CARLIN,

                      Respondent.


       Pending before the Court is a Petition for Writ of Habeas Corpus filed by Idaho

state prisoner Edward Stevens (“Petitioner” or “Stevens”). Petitioner challenges his Ada

County conviction for first-degree murder. (Dkt. 1.) The Petition is fully briefed. (Dkt.

15, 23, 28.) The Court takes judicial notice of the records from Petitioner’s state court

proceedings, which have been lodged by the State. (Dkt. 10.) See Fed. R. Evid. 201(b);

Dawson v. Mahoney, 451 F.3d 550, 551 n.1 (9th Cir. 2006).

       All named parties have consented to the jurisdiction of a U.S. Magistrate Judge to

conduct all proceedings in this case, pursuant to 28 U.S.C. § 636(c) and Federal Rule of

Civil Procedure 73. (Dkt. 9.) Having carefully reviewed the record in this matter,

including the state court record, the Court concludes that oral argument is unnecessary.

See D. Idaho L. Civ. R. 7.1(d). Accordingly, the Court enters the following Order

granting Claim 1 of the Petition and requiring the State to release or to begin new trial

proceedings against Petitioner within 120 days.

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                              SUMMARY OF DECISION

       Edward Stevens, the Petitioner in this case, was convicted in Idaho state court of

the first-degree murder of an eleven-month-old child. Prosecutors based their case against

him on the theory that Stevens violently shook the child and hit the child’s head against a

bathtub, causing a fatal skull fracture. Stevens has always maintained that the child’s

injuries resulted from an accidental fall down the stairs. The first-degree murder charge

was based on the prosecution’s theory that Stevens violently shook the child; without

such shaking, the prosecution could not have obtained a conviction for first-degree

murder.

       At trial, the strongest evidence against Stevens was expert testimony that a certain

type of tissue damage found in the child’s eyes after death was highly specific to shaken-

baby syndrome. However, after Stevens had been convicted, two types of relevant

evidence surfaced. First, it was discovered that the child’s eyes might have been removed

from the body for examination not at the autopsy, but after the body was released from

State custody and embalmed. This fact would have established a break in the evidence

chain of custody of the eyes. Second, Stevens obtained evidence that the tissue damage in

the child’s eyes might have been caused by the embalming process, instead of by

shaking. These pieces of evidence, if true, would have called into question the

prosecution’s expert witness testimony, which was that the condition of the child’s eyes

was specific evidence showing that the child had been violently shaken.




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        Upon finding the new evidence, Stevens’s attorneys investigated whether Stevens

could assert a claim under the decision in the case of Brady v. Maryland, 373 U.S. 83

(1963). In Brady, the United States Supreme Court ruled that due process of law requires

a prosecutor to discover and disclose to the accused all of the evidence known to the

prosecutor’s investigative team that is favorable to the accused regarding guilt or

punishment. In this case, the State did not disclose to Stevens available evidence

suggesting that its expert had examined and based his testimony on eyes that had been

embalmed. In response, prosecutors argued both that they did not know of the evidence

before trial and that that they did not know the potential significance of the evidence.1

        Stevens filed a motion for a new trial in the state district court, based on this new

evidence. When that was unsuccessful, he pursued a state court appeal. He then filed a

state petition for post-conviction relief, in which he argued that prosecutors had failed to

disclose evidence required by Brady and that Stevens had received ineffective assistance

of counsel in the trial and appellate proceedings. The last step of Steven’s state court

proceedings was an appeal to the Idaho Court of Appeals. In that appeal, the Idaho Court

of Appeals considered Stevens’s Brady claim. In doing so, the court assumed that the

child’s eyes were removed after embalming; however, the court rejected the claim

nonetheless. The Idaho Supreme Court declined to review the decision.




1
        There is no evidence showing that the prosecutors in this case acted in bad faith in failing to
disclose the information subject to Brady, and this decision should not be read to suggest a finding of bad
faith.

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       When a person has sought and been denied relief from the state’s highest court on

alleged federal constitutional violations, as Stevens has, he may raise those challenges in

federal court in a Petition for Writ of Habeas Corpus. A writ of habeas corpus is an order

directing the custodian of a prisoner to produce the prisoner at a time and place stated in

the order to prove that the prisoner is lawfully in custody. It is sometimes known as the

“Great Writ,” and has existed in various forms since the earliest days of English common

law. The writ was a part of early American colonial jurisprudence and later incorporated

in the United States Constitution, which provides that “the privilege of the writ of habeas

corpus shall not be suspended, unless when in cases of rebellion or invasion the public

safety may require it.” U.S. Const. Art. I, § 9, cl. 2.

       In modern times, federal statutes and United States Supreme Court rulings govern

how and when a federal court can issue a writ of habeas corpus. The authority of a federal

court to issue a writ of habeas corpus regarding a state criminal conviction has been

narrowly limited, so as to give deference to state court decisions. However, issuance of a

writ of habeas corpus remains a proper exercise of a federal court’s jurisdiction when the

law, facts, and circumstances call for its application.

       As described in this decision, this Court concludes that the finding made by the

initial post-conviction state district court that the child’s eyes were removed at the

autopsy, before release and embalming, was unreasonable in light of the evidence

presented to that court. See 28 U.S.C. § 2244(d)(2). The Court further concludes that,

even though the Idaho Court of Appeals assumed for the purposes of its decision that the



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eyes were removed after embalming, that court unreasonably ruled that the prosecution

did not violate Brady by failing to discover and disclose the evidence of post-embalming

removal. See 28 U.S.C. § 2254(d)(1). In particular, the Court rules that the evidence of

post-embalming removal of the child’s eyes could have been used to impeach the expert

testimony regarding the cause of the injuries to the child’s eyes. This important

impeachment evidence would have lent support to Stevens’s contention that the child

died from an accidental fall rather than from shaking and abuse. This evidence may have

been enough to raise a reasonable doubt in the mind of a juror as to Stevens’s guilt.

       Because the Court finds that the state post-conviction court’s factual finding was

unreasonable, the Court is not bound by statutory standards that would otherwise require

the Court to defer to the state court, as set forth in the habeas statute. See 28 U.S.C.

§§ 2254(d), (e)(1). Instead, applicable law allows this Court to review Stevens’s Brady

claim “de novo,” meaning anew.

       For the reasons that follow, on de novo review, the Court rules that Stevens is

entitled to relief on his Brady claim. Therefore, the Court issues a conditional writ of

habeas corpus. Issuance of a conditional writ of habeas corpus does not require the

responding prison warden to immediately release Stevens from custody. This Order

allows the State 120 days to decide whether to release Stevens or retry him.

       Because the Court has ruled that Stevens is entitled to relief and to issuance of a

conditional writ of habeas corpus based upon his Brady claim, it is not necessary for the

Court to rule upon the other claims made in his Petition.



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                                            BACKGROUND

        Following a jury trial in the Fourth Judicial District Court in Ada County, Idaho,

Petitioner was convicted of the first-degree murder of C.W., the eleven-month-old son of

Petitioner’s girlfriend.2 The following facts are taken from Petitioner’s state court

proceedings:

                         On the afternoon of December 27, 1996, [C.W.]
                 sustained a serious head injury while in the care of Stevens,
                 the child’s mother’s boyfriend. The child died the next day
                 after he was declared brain dead and removed from life
                 support. Stevens claimed the head injury was the result of an
                 accidental fall down the stairs, but the State contended the
                 head injury occurred after Stevens violently shook the child
                 and slammed the child’s head onto the edge of a bathtub.
                 Stevens was charged with murder in the first degree for
                 killing the child during the course of committing an
                 aggravated battery, Idaho Code §§ 18-4001, 18-4002,
                 18-4003(d).

Stevens v. State, 327 P.3d 372, 378 (Idaho Ct. App. 2013) (Stevens II).

        C.W. died from a head injury, but the State and Petitioner had vastly different

versions of how C.W. sustained that injury. “Stevens argued the cause of the injury was

accidental, asserting [Stevens] fell asleep and awoke approximately twenty minutes later

to the sound of ‘thumps or a thud’ and discovered the child lying at the bottom of the

stairs not moving. After attempting to rouse the child and administer cardiopulmonary

resuscitation (CPR), Stevens called 911 approximately five minutes later.” Id. at 379.




2
        Petitioner was convicted after his second trial. The first trial ended in a mistrial when the jury
could not reach a verdict.

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       The State’s theory of the case was that “Stevens had been physically abusing the

child since July, and on December 27, he was in the bathroom with the child, got

frustrated with the child, violently shook the child, and then slammed the child’s head

against the side of the bathtub. The State further contended that Stevens then waited over

half an hour to call 911.” Id. The prosecution offered four types of evidence to support

that theory: “(1) evidence that Stevens gave inconsistent accounts of what happened on

December 27; (2) evidence that the child had been abused over the prior six months; (3)

evidence that a child could not receive as severe a skull fracture as suffered by the child

from a fall down stairs; and (4) evidence that the child had been shaken on December

27.” Id.

       As explained by the state district court during post-conviction proceedings, the

first three types of evidence were highly controverted at trial. The first type of evidence,

Petitioner’s allegedly inconsistent statements, was of limited significance:

               First, the State claimed that Stevens gave different accounts
               of where he began CPR on [C.W.]. However, one of the
               individuals the State cited to specifically said he did not
               remember Stevens saying where CPR was started. At an
               interview on December 27, Stevens said that he began CPR in
               the kitchen, but gave [C.W.] a few breaths on the way from
               the bedroom to the kitchen. Second, the State claimed that
               Stevens gave inconsistent accounts of how many thumps he
               heard [when he awoke]. However, Stevens has maintained
               from the very beginning that he was not sure how many
               sounds he heard. Third, the State claimed that Stevens never
               told the police that [C.W.] had vomited in the bathtub the
               night before, and thus he had no explanation for why there
               was vomit in the bathtub. However, in an interview at St.
               Alphonsus on December 27, Stevens told Detectives that he



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              was up with [C.W.] the night before because he was sick and
              “projectile vomiting.”

(State’s Lodging C-11 at 2360 (internal citations omitted).) Petitioner also informed the

police that C.W. had thrown up the morning of December 27. (State’s Lodging A-9 at

1192-93.) Projectile vomiting was not unusual for C.W., who was undergoing a course of

medical treatment for this reflux problem; sometimes the treatment would help, and

sometimes it would not. (Id. at 682-85.)

       The State also “claimed that Stevens never told the police he removed [C.W.’s]

shirt and shoes even though [C.W.’s] shirt and shoes were removed by the time the

paramedics got there.” (State’s Lodging C-11 at 2360.) However, Petitioner did state that

he had removed the shirt while he was attempting to revive C.W. in the master bedroom

and that “the only reason he did not disclose this fact earlier was that the police had never

asked about it.” (Id.) Petitioner also stated that C.W. was wearing his shoes as Petitioner

attempted to revive him but did not explain why he was not wearing shoes when the

paramedics arrived. (Id.) It is unclear how Petitioner’s failure to affirmatively state when

and where he removed the shoes is actually inconsistent with the fact that C.W. was not

wearing shoes when the paramedics saw him.

       With its second type of evidence, the State attempted to show that Petitioner had

been abusing C.W. However, this testimony also was strongly disputed:

              First, the State presented the testimony of various individuals
              who stated they almost always saw [C.W.] with bruising on
              his body. These opinions indicated the bruising looked like it
              was caused by abuse. Stevens countered this with the
              testimony of various individuals who said [C.W.] had normal
              bruising for a child of his age, including the testimony of

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              [C.W.’s] pediatricians. Second, the State presented the
              testimony of several individuals who had heard Stevens call
              [C.W.] names such as Mr. shitty diapers, little asshole and
              little maggot. These individuals testified they did not think
              Stevens was joking when he used these names. Stevens
              contends that these names were used in jest, and [C.W.’s
              mother] admitted that she had also used the nickname Mr.
              shitty diapers to refer to [C.W.]. Third, the State presented
              instances of specific injuries [C.W.] sustained while on
              Stevens’ watch. Mr. Stevens gave various explanations for
              how these injuries had occurred. Fourth, the State presented
              evidence that [C.W.] did not start getting bruises until he
              moved in with Stevens. Stevens’ explanation for this was that
              [C.W.’s] bruising coincided with the point in [C.W.’s] life
              when he became mobile. Finally, the State argued Stevens
              failed to present any evidence that[] “anybody is responsible
              for bruises other than what occurred on the defendant’s
              watch.” However, at least six different witnesses testified
              they had seen [C.W.] fall and bruise himself. Stevens also
              showed that no one, including [C.W’s mother], had ever seen
              him hit or spank [C.W.].

(Id. at 2360-61 (internal citations omitted).)

       The third type of evidence presented by the State involved C.W.’s skull fracture.

The State’s theory was that C.W. “could not have received his skull fracture from a fall

down the stairs,” but—again—there was conflicting expert testimony on this issue:

              First, the State claimed that [C.W.’s] fracture was diastatic,
              which means that the edges of the fracture are wide apart. The
              State’s expert Dr. Smith testified that “considerably more
              force” is required to produce a diastatic fracture. However,
              two of the State’s other witnesses, including the Doctor who
              performed [C.W.’s] autopsy, testified the fracture did not
              appear to be diastatic. Second, the State called a physicist, Dr.
              Saami Shaibani, who testified it would have been physically
              impossible for [C.W.] to get this fracture in this precise
              location from a fall down the stairs. However, another witness
              for the State testified that [C.W.] would only have to hit his
              head “somewhere in that area” not necessarily at any
              particular point on the skull to create this fracture.

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(Id. at 2361 (alteration omitted).) The State called five experts who testified that C.W.

could not have gotten the skull fracture from falling down the stairs, partly based on the

length of the skull fracture as measured at autopsy, which was between eight and nine

centimeters.3 Petitioner called three experts who testified the fracture was, in fact,

consistent with C.W. falling down the stairs. (Id.)

        As can been gleaned from this review of the first three types of evidence presented

by the State at trial, what exactly happened to C.W. was the subject of much dispute, and

there was evidence to support both the State’s and Petitioner’s versions of events.

Therefore, as the state post-conviction court later acknowledged, the evidence that C.W.

had shaken-baby syndrome “was the most important evidence in the State’s case because

it was direct evidence that [C.W.] was battered on December 27, which was a necessary

element of the State’s first degree murder charge.” (Id.) Without the evidence of violent

shaking, “it is unlikely the State would have been able to prove its first degree murder

charge.” (Id. at 2361-62.)

        However, this evidence also was contested, and scientific evidence was presented

that supported each version of what happened to C.W. For example, there was blood

present between the two hemispheres of C.W.’s brain. One state expert testified that this


3
         Although the State’s assertion that C.W.’s skull fracture was eight to nine centimeters long “went
unchallenged at trial” (State’s Lodging C-11 at 2361), evidence later offered during Petitioner’s post-
conviction proceedings indicated that the fracture may actually have been much smaller at the time of
injury. Dr. Patrick Barnes, one of Petitioner’s post-conviction experts, stated that a CT scan taken after
C.W. was injured and brought to St. Alphonsus Hospital, but before he was transferred to St. Luke’s
Hospital, indicated that (1) the fracture initially was only three to four centimeters long, and (2) the
fracture later expanded to eight to nine centimeters as a result of intracranial pressure. (State’s Lodging C-
36, C-37.) Petitioner argues in Claim 2(c) that his trial counsel rendered ineffective assistance in failing to
discover this evidence.

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blood “could not be explained by a fall down the stairs,” but a different state expert

testified “that a severe fall down the stairs could possibly explain this type of injury.” (Id.

at 2362.)

       The State also presented evidence that C.W. had “subarachnoid hemorrhaging and

subdural hematomas.” (Id.) Several of the State’s expert witnesses testified that these

injuries were consistent with shaken-baby syndrome. But two of the State’s experts also

testified that “intracranial pressure can cause subarachnoid hemorrhages and subdural

hematomas,” which was consistent with Petitioner’s account of C.W.’s injuries. (Id.)

C.W. also had retinal hemorrhaging. The evidence established that such hemorrhaging

“can be a red flag for shaken baby syndrome,” but several of the prosecution’s own

experts “admitted that intracranial pressure and subarachnoid hemorrhaging can also

cause retinal hemorrhaging.” (Id.)

       The most crucial scientific evidence as to whether C.W. was shaken was offered

by State’s expert Dr. Brooks Crawford, an ophthalmologist who testified regarding his

examination of C.W.’s eyes. Several months after C.W.’s death, his eyes were sent to Dr.

Crawford for analysis. (State’s Lodging C-27.) Dr. Crawford testified that C.W. “had

hemorrhaging in over 30% of his eyes, hemorrhaging in both eyes, and no hemorrhaging

in the equatorial region”—occurrences which Dr. Crawford explained are “rarely seen in

cases involving only blunt trauma.” (State’s Lodging C-11 at 2362.)

       Dr. Crawford testified that he could “think of no other way to explain the findings,

this constellation of findings that we have here, except for violent shaking. There’s no



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other explanation for it.” (State’s Lodging A-9 at 789 (emphasis added).) However, as

later noted by the post-conviction court, Dr. Crawford’s own pathology report seems to

contradict at least one of these findings. (State’s Lodging C-11 at 2362 (“Dr. Crawford’s

Eye Pathology Report appears to indicate that [C.W.’s] right eye did have hemorrhaging

in the equatorial region.”).)

       Perhaps the most definitive testimony from Dr. Crawford involved macular or

perimacular folds, which occur in the eye when the internal limiting membrane tears

away from the retina, allowing “the vitreous to contract a little bit and produce this fold

that then goes around the macular area.” (State’s Lodging A-9 at 775.) Dr. Crawford saw

such folds in C.W.’s eyes. Although macular folds are not found exclusively in shaken-

baby cases, Dr. Crawford testified that they are “very highly specific” to shaken-baby

syndrome because it would take a rotational force like whiplash, rather than a

translational force like a “straight blow to the head,” to cause macular folding. (Id. at

776-77.) Dr. Crawford stressed that the folds almost always signal shaken baby

syndrome, noting that there were only “two cases now in the world’s literature of macular

folds that were not seen in shaken baby syndrome.” (Id. at 842; see also id. at 858 (“We

know of at least one other case now or two cases now where a macular fold did occur in a

person who did have a severe head injury.”).)

       Dr. Gregory Kent, an ophthalmologist who took photographs of C.W.’s eyes with

a retinal camera while C.W. was still alive, testified that he did not see any macular

folding. (Id. at 748, 754.) However, Dr. Kent went on to testify that the fact that he did



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not see the folds did not necessarily mean they did not exist, and that other techniques,

such as a three-dimensional examination, might have been able to pick up injuries that

were not visible from the retinal photographs. (Id. at 755.)

       Petitioner countered Dr. Crawford’s eye testimony with the testimony of Dr.

Lawrence Thibault, a professor of bioengineering, neurosurgery, and orthopedic surgery

specializing in head injuries. (Id. at 1556-59.) Dr. Thibault disagreed with Dr. Crawford

that retinal hemorrhages could be caused by a rotational force or shearing force, an

opinion that was based on Dr. Thibault’s research on guinea pigs. (Id. at 1584-85.) He

also testified that shaking could not cause macular folds in the eyes because “there’s no

force produced during shaking to give you that event.” (Id. at 1586.) Petitioner also

presented the testimony of forensic pathologist Dr. John Plunkett, who stated that short

distant falls can cause retinal hemorrhaging and that with the injury that C.W. suffered,

“there’s a high probability that you are going to get retinal hemorrhage regardless of

whether that injury was caused by a fall or someone picking him up and throwing him

into a wall.” (State’s Lodging A-9 at 1961, 1973.) With respect to the macular folding

seen by Dr. Crawford, Dr. Plunkett testified that macular folds can be found with

different types of injuries and that “[n]o one knows” the significance of the presence of

macular folds. (Id. at 1978-79.)

       Petitioner was found guilty of first-degree murder. He was sentenced to life

imprisonment without the possibility of parole.




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       While the case was on appeal, Petitioner filed a motion for a new trial, based on

newly discovered evidence, under Idaho Criminal Rule 34. (State’s Lodging A-3 at 56-

57; see also State’s Lodging A-5 at 435-39.) The judge in Petitioner’s trial, who after the

trial had been elected to a position as a justice of the Idaho Supreme Court, was then

specially appointed to sit as a district trial judge to hear and decide Petitioner’s motion

for a new trial.

       The newly discovered evidence “consist[ed] of, among other things, evidence that

the child’s eyes may have been damaged during embalming.” Stevens II, 327 P.3d at 379.

This evidence included (1) “a mortuary report indicating the child was embalmed prior to

his eyes being removed for examination,”4 id.; (2) a 2003 investigative report by

Detective Jim Miller (a) stating that he and another detective (his brother, Detective Joe

Miller) both remembered C.W.’s eyes being removed a day or two after the autopsy,

(b) noting that on the day after the autopsy the coroner informed Detective Joe Miller that

the eyes had been removed, and (c) concluding that the eyes were most likely removed on

December 30 or 31, 1996, after the body had been released to the funeral home and

embalmed on December 29; and (3) affidavits by forensic experts contending the damage

to the eyes seen by Dr. Crawford occurred after death as a result of the embalming, rather

than by shaking while the child was alive.

       After an evidentiary hearing, the court denied the motion, concluding that

although the evidence strongly suggested that the eyes were removed after C.W.’s body



4
       This report will be referred to as the “mortuary report” or the “embalming report.”

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was released to the funeral home and embalmed, “the evidence indicating the eye damage

occurred after death . . . was not newly discovered evidence because counsel could have

discovered it with due diligence.” Stevens II, 327 P.3d at 379. Thus, the evidence did not

meet the standard for a new trial under Rule 34. The Idaho Supreme Court affirmed the

conviction and the denial of Petitioner’s motion for a new trial. State v. Stevens, 191 P.3d

217, 220 (Idaho 2008) (Stevens I).

        Petitioner then filed a petition for state post-conviction relief, asserting that the

State failed to disclose evidence that the victim’s eyes were removed after embalming, as

required by Brady v. Maryland, 373 U.S. 83 (1963), and that Petitioner’s trial counsel

rendered ineffective assistance in several areas, including by failing to discover the

evidence of post-release and post-embalming removal of C.W.’s eyes. In April 2011, the

court held an evidentiary hearing on Petitioner’s Brady claim.5 Following the hearing, the

post-conviction court denied the petition. (State’s Lodging C-11 at 2355-83; C-12.)

        Petitioner appealed, and the Idaho Court of Appeals affirmed. The court held that

Petitioner’s Brady claim failed for the reasons that the undisclosed evidence of post-

release and post-embalming removal was not exculpatory and was not in the possession

or control of the government. Stevens II, 327 P.3d at 384-85. The court also rejected

Petitioner’s ineffective assistance of counsel claims, holding that Petitioner’s counsel did

not perform deficiently because, although counsel could have discovered the “date


5
          The evidentiary hearing also encompassed some of Petitioner’s ineffective assistance claims, but
the post-conviction court summarily dismissed the claim that Petitioner’s direct appeal counsel was
ineffective for failing to challenge the appointment of Justice Eismann to serve in the capacity of a state
district judge to hear and decide Petitioner’s motion for a new trial. (Stevens II, 327 P.3d at 380.)

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discrepancy” before trial, “the mere fact counsel did not discover it did not amount to

deficient performance where counsel’s investigation was otherwise reasonable.”6 Id. at

391. The Idaho Supreme Court denied review. (State’s Lodging D-12.)

        Now, in his federal habeas corpus Petition, Petitioner raises these claims: (1) a due

process claim under Brady, based on the prosecutor’s failure to disclose evidence that the

victim’s eyes were removed after the body was released to the funeral home and

embalmed; (2) a claim of ineffective assistance of trial counsel, based on counsel’s

failure (a) to discover the evidence regarding the timing of the removal of the victim’s

eyes, (b) to investigate reports that medication the C.W. was taking for his reflux problem

could cause cardiac arrest, providing an additional reason why he might have fallen down

the stairs, and (c) to consult with an expert regarding a scan of the victim’s skull showing

that the skull fracture was smaller than previously believed; and (3) a claim of ineffective

assistance of direct appeal counsel, based on counsel’s failure to challenge Justice

Eismann’s special appointment to hear Petitioner’s motion for a new trial. (Dkt. 1.)

        For the reasons that follow, the Court concludes that Petitioner is entitled to

habeas relief on his Brady claim. Therefore, the Court need not address Petitioner’s

claims of ineffective assistance of counsel.


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         Dissenting, Judge Lansing believed that, taken together, the decisions in Petitioner’s direct appeal
and post-conviction appeal created “a flagrant ‘Catch-22.’” Stevens II, 327 P.3d at 399 (Lansing, J.,
dissenting). On one hand, the courts had ruled “that Stevens was not entitled to a new trial because the
embalming report was not newly discovered and, on the other hand, that he is not entitled to relief for
ineffective assistance of counsel because a reasonably competent attorney would not have discovered the
same evidence.” Id. In other words, Judge Lansing reasoned that the Idaho courts’ message to Petitioner
was that he could not get a new trial because his attorneys should have discovered the evidence, but that
he could not get post-conviction relief because his attorneys should not have been expected to discover
the evidence.

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                      HABEAS CORPUS STANDARD OF LAW

       It is “a fundamental precept of liberty” that a person is guaranteed freedom from

unlawful restraint, and the writ of habeas corpus is “a vital instrument to secure that

freedom.” Boumediene v. Bush, 553 U.S. 723, 739 (2008). Habeas relief is available to

obtain release from state custody only when a federal court determines that the petitioner

“is in custody in violation of the Constitution or laws or treaties of the United States.” 28

U.S.C. § 2254(a).

       Congress has placed limits upon the availability of such relief described in

§ 2254(d), as amended by the Anti-terrorism and Effective Death Penalty Act of 1996

(“AEDPA”). That statute constrains the issuance of a writ of habeas corpus to those

instances where the state court’s adjudication of the petitioner’s claim

              (1)    resulted in a decision that was contrary to, or
                     involved an unreasonable application of, clearly
                     established Federal law, as determined by the
                     Supreme Court of the United States; or

              (2)    resulted in a decision that was based on an
                     unreasonable determination of the facts in light
                     of the evidence presented in the State court
                     proceeding.

28 U.S.C. § 2254(d). This means that, in most cases, a federal district court will defer to

the findings and conclusions of the state courts out of comity and respect for the

important role the state courts play in adjudicating federal constitutional issues in state

criminal cases. This concept is often referred to as “AEDPA deference.” A federal habeas




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court reviews the state court’s “last reasoned decision” in determining whether a

petitioner is entitled to relief. Ylst v. Nunnemaker, 501 U.S. 797, 804 (1991).

       When a party contests the state court’s legal conclusions, including application of

the law to the facts, § 2254(d)(1) governs. That section consists of two alternative tests:

the “contrary to” test and the “unreasonable application” test.

       Under the first test, a state court’s decision is “contrary to” clearly established

federal law “if the state court applies a rule different from the governing law set forth in

[the Supreme Court’s] cases, or if it decides a case differently than [the Supreme Court]

[has] done on a set of materially indistinguishable facts.” Bell v. Cone, 535 U.S. 685, 694

(2002). Under the alternative second test of “unreasonable application,” the petitioner

must show that the state court, although identifying “the correct governing legal rule”

from Supreme Court precedent, nonetheless “unreasonably applie[d] it to the facts of the

particular state prisoner’s case.” Williams (Terry) v. Taylor, 529 U.S. 362, 407 (2000).

“Section 2254(d)(1) provides a remedy for instances in which a state court unreasonably

applies [Supreme Court] precedent; it does not require state courts to extend that

precedent or license federal courts to treat the failure to do so as error.” White v. Woodall,

134 S. Ct. 1697, 1706 (2014) (emphasis omitted).

       Significantly, a federal court cannot grant habeas relief simply because it

concludes in its independent judgment that a state court’s decision is incorrect or wrong;

rather, the state court’s application of federal law must be objectively unreasonable to

warrant relief. Lockyer v. Andrade, 538 U.S. 63, 75 (2003); Bell, 535 U.S. at 694. If fair-



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minded jurists could disagree on the correctness of the state court’s decision, then relief is

not warranted under § 2254(d)(1). Harrington v. Richter, 562 U.S. 86, 102 (2011). On

that subject, the Supreme Court has emphasized that “even a strong case for relief does

not mean the state court’s contrary conclusion was unreasonable.” Id. To be entitled to

habeas relief under § 2254(d)(1), “a state prisoner must show that the state court’s ruling

on the claim being presented in federal court was so lacking in justification that there was

an error well understood and comprehended in existing law beyond any possibility for

fairminded disagreement.” Id. at 103.

       Further, AEDPA deference is required even where the state court denied a

petitioner’s claim without expressly addressing it. In such a case, the federal court must

“conduct an independent review of the record to determine what arguments or theories

could have supported the state court’s decision.” Bemore v. Chappell, 788 F.3d 1151,

1161 (9th Cir. 2015) (internal quotation marks and alterations omitted). The court must

then decide “whether it is possible fairminded jurists could disagree that those arguments

or theories are inconsistent with the holding in a decision of the Supreme Court.” Id.

(internal quotation marks and alterations omitted).

       The source of clearly established federal law must come from the holdings of the

United States Supreme Court, but circuit court decisions may be persuasive authority for

deciding whether a state court decision is an unreasonable application of Supreme Court

precedent. Duhaime v. Ducharme, 200 F.3d 597, 600-01 (9th Cir. 2000). However,

circuit law may not be used “to refine or sharpen a general principle of Supreme Court



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jurisprudence into a specific legal rule that th[e] Court has not announced.” Marshall v.

Rodgers, 569 U.S. 58, 64 (2013).

       As to the facts, the Supreme Court has instructed that “review under § 2254(d)(1)

is limited to the record that was before the state court that adjudicated the claim on the

merits.” Cullen v. Pinholster, 563 U.S. 170, 180 (2011). This means that evidence not

presented to the state court may not be introduced on federal habeas review if a claim was

adjudicated on the merits in state court and if the underlying factual determinations of the

state court were reasonable. See Murray v. Schriro, 745 F.3d 984, 999-1000 (9th Cir.

2014); (“After Pinholster, a federal habeas court may consider new evidence only on de

novo review, subject to the limitations of § 2254(e)(2).”); Hurles v. Ryan, 752 F.3d 768,

778 (9th Cir. 2014) (“If we determine, considering only the evidence before the state

court, that the adjudication of a claim on the merits . . . was based on an unreasonable

determination of the facts, we evaluate the claim de novo, and we may consider evidence

properly presented for the first time in federal court.”).

       Two separate statutory subsections govern a federal court’s review of state court

factual findings:

              Factual determinations by state courts are presumed correct
              absent clear and convincing evidence to the contrary,
              § 2254(e)(1), and a decision adjudicated on the merits in a
              state court and based on a factual determination will not be
              overturned on factual grounds unless objectively
              unreasonable in light of the evidence presented in the state-
              court proceeding, § 2254(d)(2) . . . .

Miller-El v. Cockrell, 537 U.S. 322, 340 (2010).



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       A court reviews a state court’s factual determination pursuant to § 2254(d)(2)

when a petitioner contests the reasonableness of that determination based on the state

court record. Taylor v. Maddox, 366 F.3d 992, 999 (9th Cir. 2004), abrogated on other

grounds as recognized in Murray, 745 F.3d 984 (9th Cir. 2014). Under subsection (d)(2),

there are two methods generally used to challenge factual findings as unreasonable.

“First, a petitioner may challenge the substance of the state court’s findings and attempt

to show that those findings were not supported by substantial evidence in the state court

record. Second, a petitioner may challenge the fact-finding process itself on the ground

that it was deficient in some material way.” Hibbler v. Benedetti, 693 F.3d 1140, 1146

(9th Cir. 2012) (internal citations omitted).

       Importantly, a “state-court factual determination is not unreasonable merely

because the federal habeas court would have reached a different conclusion in the first

instance.” Wood v. Allen, 558 U.S. 290, 301 (2010). “The question under AEDPA is not

whether a federal court believes the state court’s determination was incorrect but whether

that determination was unreasonable—a substantially higher threshold.” Schriro v.

Landrigan, 550 U.S. 465, 473 (2007).

       Under the second subsection dealing with state court findings of fact, 28 U.S.C.

§ 2254(e)(1), such factual findings are presumed to be correct, and the petitioner has the

burden of rebutting this presumption by clear and convincing evidence. This standard “is

demanding but not insatiable,” and “deference does not by definition preclude relief.”




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Miller-El v. Dretke, 545 U.S. 231, 240 (2005) (internal quotation marks and alteration

omitted).

       The relationship between subsections (d)(2) and (e)(1) of § 2254 is not entirely

clear. In Taylor v. Maddox, the Ninth Circuit held that “the presumption of correctness

and the clear-and-convincing standard of proof [as set forth in § (e)(1)] only come into

play once the state court’s fact-findings survive any intrinsic challenge [under § (d)(2)];

they do not apply to a challenge that is governed by the deference implicit in the

‘unreasonable determination’ standard of section 2254(d)(2).” 366 F.3d at 1000.

However, in Cullen v. Pinholster, the United States Supreme Court held that new

evidence introduced in federal court “has no bearing” on a merits review of a state court’s

legal conclusions. 563 U.S. at 185.

       In Murray, the Ninth Circuit explained that the decision in Pinholster “eliminated

the relevance of ‘extrinsic’ challenges when … reviewing state-court decisions under

AEDPA.” 745 F.3d at 999. As a result, the interplay between § 2254(d)(2) and

§ 2254(e)(1) is unresolved. Id. at 1001 (noting that the Supreme Court has, in some cases,

assumed that § (e)(1) merely qualifies § (d)(2) and that “we too have continued to

struggle with the relationship between §§ 2254(d)(2) and (e)(1) when reviewing state-

court factual findings under AEDPA”); see also Wood, 558 U.S. at 300 (declining to

address the issue). To date, courts of precedent facing this dilemma have not found the

differences between § 2254(d)(2) and § 2254(e)(1) determinative under the particular

facts before those courts. See Wood, 558 U.S. at 304-05 (“Because the resolution of this



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case does not turn on them, we leave for another day the questions of how and when

§ 2254(e)(1) applies in challenges to a state court’s factual determinations under

§ 2254(d)(2).”); Murray, 745 F.3d at 1001 (“[W]e do not believe the difference between

our two lines of cases is determinative in this case, and thus we need not resolve the

apparent conflict to decide this case.”).

        If a petitioner satisfies § 2254(d)—either by showing that the state court’s

adjudication of the claim was contrary to, or an unreasonable application of, Supreme

Court precedent, or by establishing that the state court’s factual findings were

unreasonable—then the federal habeas court must review the petitioner’s claim de novo.7

Hurles, 752 F.3d at 778. As in the pre-AEDPA era, a district court considering a habeas

claim de novo may draw upon United States Supreme Court and circuit precedent,

limited only by the non-retroactivity rule of Teague v. Lane, 489 U.S. 288 (1989).

        However, if the factual findings of the state court are not unreasonable under

§ 2254(d)(2), then even on de novo review the Court must apply the presumption of

correctness found in 28 U.S.C. § 2254(e)(1) to any facts found by the state courts. See

Pirtle v. Morgan, 313 F.3d 1160, 1167-68 (9th Cir. 2002). Conversely, if a state court

factual determination is unreasonable, the federal court is not limited by § 2254(e)(1) and

may consider evidence outside the state court record, except to the extent that

§ 2254(e)(2) might apply. See Murray, 745 F.3d at 1000.



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         De novo review is also required where the state appellate court did not decide a properly-asserted
federal claim or where an adequate excuse for the procedural default of a claim exists. Pirtle v. Morgan,
313 F.3d 1160, 1167 (9th Cir. 2002); Dickens v. Ryan, 740 F.3d 1302, 1321 (9th Cir. 2014) (en banc).

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       Generally, even if a petitioner succeeds in demonstrating a constitutional error in

his conviction, he is entitled to federal habeas relief only if he also “can establish that [the

error] resulted in ‘actual prejudice.’” Brecht v. Abrahamson, 507 U.S. 619, 637 (1993).

Under the Brecht standard, an error is not harmless and habeas relief must be granted if

the federal court has “grave doubt about whether a trial error of federal law had

substantial and injurious effect or influence in determining the jury’s verdict.” O’Neal v.

McAninch, 513 U.S. 432, 436 (1995) (internal quotation marks omitted). However, some

types of claims “are analyzed under their own harmless error standards, which can render

Brecht analysis unnecessary.” Jackson v. Brown, 513 F.3d 1057, 1070 (9th Cir. 2008).

Brady claims are in this category, and if a court has found a Brady violation, “it cannot

subsequently be found harmless under Brecht.” Kyles v. Whitley, 514 U.S. 419, 436

(1995).

                                       DISCUSSION

       In Claim 1, Petitioner asserts that the prosecution failed to disclose, in violation of

Brady v. Maryland, evidence that C.W.’s eyes were removed for examination after the

victim’s body was released to the funeral home and embalmed.

1.     Clearly-Established Law

       Under the Due Process Clause of the Fourteenth Amendment, the prosecution has

a duty to disclose evidence favorable to the defense that is material to guilt or

punishment, regardless of whether the defense has requested such evidence. Brady, 373

U.S. at 87; United States v. Bagley, 473 U.S. 667, 676 (1985). A meritorious Brady claim

contains three essential components: (1) the evidence must be favorable to the accused,

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either because it is exculpatory or because it is impeaching; (2) the government must

have withheld the evidence, either intentionally or inadvertently; and (3) the evidence

must be material to guilt or punishment, i.e., “prejudice must have ensued.” Strickler v.

Greene, 527 U.S. 263, 281-82 (1999).

       The duty to disclose favorable evidence applies “irrespective of the good faith or

bad faith of the prosecution.” Brady, 373 U.S. at 83; see also Giglio v. United States, 405

U.S. 150, 154 (1972) (“[W]hether the nondisclosure was a result of negligence or design,

it is the responsibility of the prosecutor.”). It applies not only to the prosecutor but also to

the prosecution’s agents, such as police officers. Kyles, 514 U.S. at 437 (holding that

evidence known only to the police, but unknown to the prosecutor, was subject to Brady

disclosure). Thus, “the individual prosecutor has a duty to learn of any favorable

evidence known to the others acting on the government’s behalf in the case.” Id.

(emphasis added).

       Favorable evidence can be exculpatory or impeaching. Exculpatory evidence is

evidence tending to show the defendant did not commit the crime, while impeachment

evidence is evidence that might have helped in conducting a cross-examination. Bagley,

473 U.S. at 677. Brady requires disclosure of exculpatory or impeaching information, not

just exculpatory or impeaching documents or other tangible things. See id. (“The

constitutional error, if any, in this case was the Government’s failure to assist the defense

by disclosing information that might have been helpful in conducting the cross-

examination.”).



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       Undisclosed evidence is material under Brady, and its non-disclosure is

prejudicial, if a reasonable probability exists that, had the evidence been disclosed, the

result of the proceeding would have been different. “A ‘reasonable probability’ is a

probability sufficient to undermine confidence in the outcome.” Bagley, 473 U.S. at 682.

Exculpatory or impeaching evidence need not be evidence that would have produced an

acquittal. Kyles, 514 U.S. at 434 (“[A] showing of materiality does not require

demonstration by a preponderance that disclosure of the suppressed evidence would have

resulted ultimately in the defendant’s acquittal (whether based on the presence of

reasonable doubt or acceptance of an explanation for the crime that does not inculpate the

defendant).”). Rather, the undisclosed evidence need only be such that, “if disclosed and

used effectively, it may make the difference between conviction and acquittal.” Bagley,

473 U.S. at 676 (emphasis added). A court, in deciding whether undisclosed evidence is

material, must assess the weight and force of the withheld evidence collectively, rather

than item by item. Kyles, 514 U.S. at 433-34.

       As noted above, if a federal court determines that the three Brady elements have

been met, the court need not conduct an additional prejudice analysis under Brecht.

Kyles, 514 U.S. at 436.

2.     In Denying Claim 1, the Idaho Court of Appeals Unreasonably Applied Brady
       v. Maryland, Kyles v. Whitley, and Bagley v. United States

       The Idaho Court of Appeals did not address the initial post-conviction court’s

finding that C.W.’s eyes were removed before the body was released and embalmed.

Rather, the court assumed the eyes were removed post-release and post-embalming, and


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denied Petitioner’s Brady claim nonetheless. Thus, for purposes of determining whether

Petitioner has satisfied § 2254(d)(1), this Court will make the same assumption.

         In at least two ways, the state court’s decision was based on an unreasonable

application of clearly-established federal law as determined by the United States Supreme

Court.

         A.    Assuming Post-Release and Post-Embalming Removal of the Eyes, the
               State Court’s Conclusion that the Evidence Was Not in the Government’s
               Possession or Control Was Unreasonable

         Without adopting the post-conviction court’s finding that the eyes were removed

before release and embalming of the body, the Idaho Court of Appeals determined that

“the mortuary report was not in the prosecutors’ (or their agents’) possession or control

and could not be reasonably imputed to them.” Stevens II, 327 P.3d at 384. The court said

that “the funeral home (which was clearly not a State agent) had sole possession of the

report until . . . 2003 when, responding to an inquiry” from Glen Elam, an “investigator

for the public defender’s office, the prosecutor requested the funeral home’s files and

forwarded them to the investigator and defense counsel.” Id.

         The Idaho Court of Appeals expressly addressed only the mortuary report. It did

not discuss any of the other evidence offered by Petitioner, including the 2003

recollections of Detective Jim Miller and Detective Joe Miller that C.W.’s eyes were

removed at the funeral home after the body had been released from the hospital, and not

at the time of the autopsy. This Court presumes, however, that the court of appeals

considered all of the evidence other than the mortuary report and determined that it, also,

was not in the State’s possession or control. See Richter, 562 U.S. at 99 (“When a federal

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claim has been presented to a state court and the state court has denied relief, it may be

presumed that the state court adjudicated the claim on the merits in the absence of any

indication or state-law procedural principles to the contrary.”).

        In doing so, the Idaho Court of Appeals unreasonably applied Brady, Kyles, and

Bagley. Brady requires disclosure of information, not just documents. Bagley, 473 U.S. at

677. Here, that information was not limited to the mortuary report—it was the (assumed)

fact that the eyes were removed after the body had been released from the hospital. If the

eyes were removed after the body was released and embalmed, as the court of appeals

stated it assumed, then that information was indeed within the State’s control.

        This Court agrees with the lower state post-conviction court that “if [C.W’s] eyes

were removed post-embalming then Dr. Slaughter [the pathologist] and/or Mr.

Sonnenberg [the coroner] would have had knowledge of this fact.” (State’s Lodging C-11

at 2365.) As the pathologist who removed the eyes, Dr. Slaughter obviously knew where

and when he removed them. Though Dr. Slaughter could not later remember when he

removed the eyes, he was most certainly aware of where and when the eyes were

removed at the time he removed them. The coroner, Mr. Sonnenberg, also knew the

timing of the removal of the eyes because he informed a police detective on December

30, 1996, that C.W.’s eyes had been removed from his body. (State’s Lodging A-4 at

325.)

        As it did before the state post-conviction court, in this habeas proceeding “[t]he

State does not dispute the logic of this argument. Instead, the State has chosen to argue



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that Dr. Slaughter and/or Mr. Sonnenberg did not have knowledge of this fact because

[C.W.’s] eyes were in fact removed at autopsy.” (Id.) The State again does not dispute

Petitioner’s contention that, for purposes of Brady, the coroner’s office is an arm of the

government or that Dr. Slaughter was an agent of the coroner—and therefore “acting on

the government’s behalf.” Kyles, 514 U.S. at 437. (Dkt. 23 at 23; Dkt. 28 at 13-16.)

       However, the Court need not decide whether Dr. Slaughter and Mr. Sonnenberg

were agents of the prosecution, because—assuming post-release and post-embalming

removal of the eyes—two police officers also knew that fact. In 2003, Detective Jim

Miller and Detective Joe Miller both recalled that the eyes were removed at the funeral

home after the body was released from State custody. Approximately eight years later,

Jim Miller testified at the post-conviction hearing that he (at that later date) believed the

eyes were removed at the autopsy. But his change of mind upon the subject—which

apparently was not based on a new and different memory—does not call into question his

or his brother’s earlier independent recollections that were made of record in 2003.

       These two police detectives were members of the government’s investigative

team, and no fairminded jurist could disagree with that conclusion. See Richter, 562 U.S.

at 102. As such, their knowledge is part of what “the individual prosecutor has a duty to

learn[,]” that is, “any favorable evidence known to the others acting on the government’s

behalf in the case, including the police.” (emphasis added)). Kyles, 514 U.S. at 437 Thus,

assuming the eyes were removed sometime after the funeral home took possession of the

body on December 29, 1996, Detectives Jim and Joe Miller were aware of that fact at the



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time. Hence, that information was within the possession or control of the prosecution’s

investigatory team.

       For these reasons, the state court’s conclusion that the State did not have

possession or control of any of the evidence of post-embalming removal—not just the

mortuary report—was based on an unreasonable application of Brady, Kyles, and Bagley.

Stated simply, the Idaho Court of Appeals could not have reasonably concluded that the

government did not have possession or control of the information while also assuming

the eyes were removed after release and embalming. If the eyes were removed after

release and embalming, then the memories of the two detectives were accurate.

Therefore, at least two police officers “acting on the government’s behalf” would have

known the information. Kyles, 514 U.S. at 437. Pursuant to Brady and its progeny, the

prosecutor was required to discover, and then disclose, that information.

       B.     Assuming Post-Release and Post-Embalming Removal of the Eyes, the
              State Court’s Implied Conclusion that the Evidence Was Not Impeaching
              Was Unreasonable

       The Idaho Court of Appeals also held that the evidence of post-embalming

removal was not favorable to Petitioner because, on its face, it was not exculpatory.

Stevens II, 327 P.3d at 384 (“On the record we have before us, there is little to no basis

upon which to conclude the prosecutor or other members of the investigative team would

or should have had any reason to believe th[e] fact [that the eyes were removed post-

embalming] constituted material exculpatory evidence, such that the evidence must be

disclosed.”). In addressing these issues, the court again assumed that “the eyes were

removed post-embalming.” Id. The court stated,

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              [I]t was not until Stevens obtained the opinion of several
              experts during the post-conviction proceedings that any
              inkling arose indicating the evidence was potentially
              exculpatory. This is distinguishable from evidence that a
              prosecutor and/or the investigative team can be reasonably
              expected to discern as exculpatory—such as a witness’s
              statement identifying an alternate perpetrator than the
              defendant. Additional analysis, beyond the ken of the
              prosecutor and investigation team, was necessary in this case
              to reveal the exculpatory nature of the evidence in question.
              Under these circumstances, knowledge of the evidentiary
              significance of the embalming report and/or the timing of the
              removal of the child’s eyes cannot reasonably be imputed to
              the prosecutor.

Id. at 385.

       The state court did not address expressly whether the evidence was impeaching,

only whether it was exculpatory. This Court presumes that the state court considered that

question (see Richter, 562 U.S. at 99), and that the state court decided that the evidence

of post-release and post-embalming removal was not impeaching for the same reason the

state court decided that the evidence was not exculpatory, i.e., because the prosecutor

could not have known the evidence was impeaching.

       That conclusion was objectively unreasonable for two reasons. First, Brady does

not require that the exculpatory or impeaching character of the undisclosed evidence

actually be known to the prosecutor. Instead, Brady and its progeny require only that the

undisclosed evidence be favorable, material, and within the control of the prosecution or

its agents. Importantly, the significance of any such undisclosed evidence remains, and

“under Brady an inadvertent nondisclosure has the same impact on the fairness of the

proceedings as deliberate concealment. ‘If the suppression of evidence results in


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constitutional error, it is because of the character of the evidence, not the character of the

prosecutor.’” Strickler, 527 U.S. at 288 (quoting United States v. Agurs, 427 U.S. 97, 110

(1976)).8

        Second, the state court’s conclusion was unreasonable even if Brady did require

that the favorable character of the evidence actually be known to the prosecution or its

agents. Accepting the court of appeals’ assumption that the eyes were removed after the

body had been released and embalmed, the impeaching character of that evidence was

obvious before trial or, at the very latest, during trial.

        Here, it is not only the (assumed) fact that the eyes were removed after embalming

that would have been apparent to the members of the prosecution’s investigative team—it

is also the fact that the eyes were removed after the body had been released to the funeral

home, which established a break in the chain of custody of the eyes. The evidence of

post-release and post-embalming removal of the eyes is classic chain-of-custody

evidence, and both police and prosecutors are well aware of the importance of

establishing a chain of custody of evidence.

        When Dr. Crawford first examined the eyes and concluded that the damage he saw

was highly specific to shaken-baby syndrome, it would have been clear to any reasonably


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         The State attempts to buttress the state court’s conclusion that the evidence was not favorable to
the defense by arguing that the court did not require that the exculpatory (or impeaching) value of the
evidence be known to the prosecution team. Instead, asserts the State, the court of appeals merely
determined, again, that any evidence of post-embalming removal was not within the prosecutor’s or her
agents’ control. (Dkt. 28 at 14.) However, this argument lacks merit, given the plain language used by the
court of appeals that (1) “[a]dditional analysis, beyond the ken of the prosecutor and investigation team,
was necessary in this case to reveal the exculpatory nature of the evidence in question” and (2) the
prosecutor did not have actual or imputed “knowledge of the evidentiary significance” of that evidence.
Stevens II, 327 P.3d at 385 (emphasis added).

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competent prosecutor or police officer that the eyes were very important pieces of

evidence. The impeachment value of the evidence of post-embalming removal should

have been obvious as soon as the prosecution was aware that the eyes might contain

evidence of the cause of death. The importance of such evidence was further emphasized

because two doctors examined the eyes and testified at trial, but only one of them

observed macular folds in the eye tissue. Dr. Kent, who examined the eyes before C.W.

died, testified that he did not see macular folding. Dr. Crawford, who (assuming post-

embalming removal) examined eyes that had been removed after the body was released

to the funeral home, testified that the folds did exist. The release and embalming of

C.W.’s body was a potential reason for this discrepancy other than the possibility that Dr.

Kent simply missed the presence of macular folds or did not have the right equipment to

see them.

       The child’s eyes were out of the State’s custody for at least a day between the

release of the body and the assumed post-embalming removal of the eyes. This chain-of-

custody anomaly is a reason for calling into question Dr. Crawford’s findings because the

condition of the evidence (the eyes) could have changed after the victim’s death (and

after Dr. Kent’s examination), but before Dr. Crawford’s examination. See Bagley, 473

U.S. at 677 (“The constitutional error . . . was the Government’s failure to assist the

defense by disclosing information that might have been helpful in conducting the cross-

examination.”). Therefore, because both Dr. Crawford and Dr. Kent were state witnesses,

the impeaching character of the evidence should have been obvious to the prosecutor



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when she was constructing her case and preparing her witnesses for trial. At the very

latest, the impeachment value of the evidence was clear during trial when the two doctors

testified about their findings upon their respective examinations of the eyes.

       For the foregoing reasons, the court of appeals unreasonably applied Bagley in

ruling that the evidence of post-embalming removal, which the court assumed was true,

was not impeaching. That evidence plainly “might have been helpful in conducting the

cross-examination” of an expert testifying as to his examination of scientific evidence

and conclusion as to the cause of death drawn from that evidence—here, Dr. Crawford’s

examination of C.W.’s eyes and his conclusions that C.W. was violently shaken. Bagley,

473 U.S. at 677. Finally, the evidence became obviously impeaching, and therefore

favorable to the defense, no later than Dr. Kent’s and Dr. Crawford’s trial testimony. The

Court finds that no fairminded jurists would disagree. See Richter, 562 U.S. 86, 102

       Having determined that the state court unreasonably applied clearly-established

federal law, this Court will now analyze Petitioner’s Brady claim de novo.

3.     On De Novo Review, Petitioner Is Entitled to Habeas Relief on His Brady
       Claim

       Even if a petitioner satisfies § 2254(d)(1) by showing that the state court

unreasonably applied clearly-established federal law, a habeas court—in reviewing the

claim de novo—must still presume any state court factual finding to be correct under 28

U.S.C. § 2254(e)(1) unless that finding is unreasonable under § 2254(d)(2). See Pirtle,

313 F.3d at 1167; Murray, 745 F.3d at 1000. The parties agree that this Court properly

can review the factual finding of the state post-conviction court that C.W.’s eyes were


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removed before the body was released and embalmed, even though the Idaho Court of

Appeals did not adopt that finding. (Reply, Dkt. 23 at 3-18; Sur-Reply, Dkt. 28, at 4-5.)

        If this Court must defer to the post-conviction court’s finding that the eyes were

removed at the autopsy, before the body was released and embalmed, then Petitioner’s

Brady claim would fail because there would have been nothing for the prosecution to

disclose and the evidence of post-embalming removal would not have been material.

Therefore, the Court must first decide whether it is bound by that factual finding.

        In making that decision, the Court is mindful that although a federal court in

habeas must “give considerable deference to the state courts, ‘AEDPA deference is not a

rubber stamp.’” Garcia v. Long, 808 F.3d 771, 779 (9th Cir. 2015) (quoting Anderson v.

Terhune, 516 F.3d 781, 786 (9th Cir. 2008)). Hewing to that template, the Court

concludes for the reasons that follow that the finding of pre-release and pre-embalming

removal is unreasonable under § 2254(d)(2), and the Court therefore need not apply the

presumption of correctness to that finding under § 2254(e)(1).9




9
         Though the Court primarily analyzes the state court’s factual finding under § 2254(d)(2), it also
concludes that Petitioner has satisfied § 2254(e)(1). Specifically, for the reasons provided in this section,
the Court concludes both that the initial post-conviction court’s factual finding of the timing of the
removal of the eyes was unreasonable, and that Petitioner has rebutted that finding by clear and
convincing evidence. Therefore, the precise interaction and any differences between §§ 2254(d)(2) and
(e)(1) are not implicated here.


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       A.     The Court Need Not Defer to the Idaho Post-Conviction Court’s Factual
              Finding that C.W.’s Eyes Were Removed Before Release and Embalming

            i.       The evidence presented in state court

       The eye removal issue centered on whether C.W.’s eyes were removed at the

autopsy or, as Petitioner claims, after the body had been released to the funeral home and

embalmed. The post-conviction court found that four people were at the autopsy of C.W.:

(1) Dr. Ronald Slaughter, the pathologist who performed the autopsy and, at some point,

removed the eyes; (2) Detective Jim Miller; (3) Dave Sherner from the coroner’s office;

and (4) then-Sergeant (later Lieutenant) Gene Trakel. (State’s Lodging C-11 at 2366.)

Although the county coroner, Erwin Sonnenberg, testified during post-conviction

proceedings that he believed he was at the autopsy, all of the other evidence indicates that

only those four individuals were present. The autopsy reports do not note that the eyes

were removed at the autopsy.

       Dr. Slaughter testified multiple times about removing C.W.’s eyes for further

testing, but he never said when he removed the eyes. During the first trial, which ended in

a hung jury, Dr. Slaughter said that he removed the eyes, at the direction of the coroner,

and placed them in a fixative to preserve them. (State’s Lodging A-7 at 1125-26.) There

was no mention of when the eyes were removed, although, if the coroner advised Dr.

Slaughter to remove the eyes, that conversation likely took place before or after the

autopsy, as the coroner was not present at the autopsy. (State’s Lodging C-11 at 2366.)

       In the second trial, Dr. Slaughter gave these answers to the prosecutor’s questions:

              Q.     Doctor, with respect to [C.W.’s] eyes, did you perform
                     a procedure to remove [the] eyes?

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              A.     Yeah, after consulting with Dr. Garrison and Dr. Ray
                     [two other experts], I knew the eyes would be
                     important and I’m not an ophthalmology pathologist
                     . . . so I just took the eyes out and put in a fixative to
                     make sure that they stayed the way they are now and
                     sent it to a pathologist specially trained in that area.

              Q.     And so you actually packaged them and sent them to
                     Dr. Brooks Crawford?

              A.     Yes.

(State’s Lodging A-9 at 411.) Once again, no one asked Dr. Slaughter when he removed

the eyes, though Dr. Slaughter did testify that he had these discussions with Drs. Garrison

and Ray about the importance of the eyes before the autopsy. (Id. at 415.)

       By the time he testified during proceedings on Petitioner’s motion for a new trial,

Dr. Slaughter vaguely recalled removing C.W.’s eyes, but he did not remember when:

              Q.     Dr. Slaughter, just to move on to the issue of the eyes,
                     I’m sure you’re aware of that issue; correct?

              A.     Yeah. I was told today of the issue of the eyes, or
                     maybe yesterday.

              Q.     I notice in . . . the final autopsy report and preliminary
                     autopsy report . . . , there is no mention in there that
                     you removed the eyes during the autopsy.

              A.     I just looked for that and you’re right, there’s no
                     mention of it.

              Q.     In fact, you didn’t remove the eyes during autopsy, did
                     you?

              A.     Honestly, I don’t remember the exact instant that I
                     removed the eyes. I do vaguely remember—remember
                     this is almost ten years ago—removing the eyes. It’s
                     not something we normally do. This report that has the
                     gross, that lists all the organs and heart and lungs, I do
                     that after I’ve done the autopsy from a template

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                 because we almost never remove the eyes. The eyes
                 are not listed in that template. So it’s likely I just
                 overlooked dictating how I removed the eyes or what
                 their weight was or anything else.

          Q.     At some point you removed the eyes?

          A.     Correct.

          Q.     What made you decide to remove the eyes?

          A.     From what I can recall and from looking at my
                 previous testimony, I think I spoke to someone with
                 more experience in this area in Washington, and they
                 recommended that I remove the eyes.

          Q.     Did you speak with Dr. Garrison in Pocatello?

          A.     Yes.

          Q.     And he recommended that you remove the eyes?

          A.     Correct.

          Q.     And the reason he did that is because he explained to
                 you that in alleged shaken baby cases the removal of
                 the eyes is important to the evidence of shaking?

          A.     I don’t remember the exact reason, but he did ask me
                 to take the eyes.

          Q.     Do you recall when you removed the eyes?

          A.     No, I do not.

          ....

          Q.     What time of day was it when you removed the eyes?

          A.     I have no idea. I don’t remember what time of day it
                 was when I did the autopsy.

          ....

          Q.     How did the body arrive for you to take the eyes?

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             A.     I don’t know. As far as I know, I took the eyes at
                    autopsy, which is the body was stored in our cooler.

             Q.     But that was not noted in either of your autopsy
                    reports?

             A.     Correct, because the eyes are not part of my normal
                    dictating template. And I just didn’t mention it
                    specifically also since I wasn’t keeping the eyes. The
                    eyes were taken to be sent out. And that’s why there
                    are no weights or anything. That’s why it’s not on my
                    final diagnosis, for instance. I didn’t examine the eyes
                    microscopically, so I had no reason to include them in
                    my report.

             ....

             Q.     You’re speculating here, aren’t you, because you don’t
                    have a memory?

             A.     I am speculating.

             ....

             Q.     As far as the issue of the body being embalmed when
                    the eyes are removed, you have no specific memory as
                    to whether it was embalmed?

             A.     I have no specific memory of the exact time I took the
                    eyes. I’m assuming I took them at the time of autopsy
                    because it would be unusual for me to do it any other
                    time. But I don’t have a specific memory.

(State’s Lodging A-13 at 41-50, 58.)

      Dr. Slaughter testified that he did not know what time of day it was when he

performed the autopsy. Though in answer to the question about the time of day the eyes

were removed he left a possible impression that the eyes were taken during the autopsy,




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he clarified shortly thereafter in his testimony that he was only assuming and speculating

that he removed the eyes at autopsy.10

        After a defense investigator initially raised the issue of the chain of custody of the

eyes, the prosecutor asked Detective Jim Miller to investigate the timing of the removal.

Detective Miller’s subsequent investigative report contains his conclusion that C.W.’s

eyes were removed after the autopsy, after the body was released to the funeral home,

and after the body was embalmed. The detective remembered C.W.’s eyes “being

collected a day or two [after the autopsy] while [C.W.] was at the funeral home.” (State’s

Lodging A-4 at 325.) Detective Jim Miller’s brother, Detective Joe Miller, corroborated

the conclusion, saying that “there had been at least one trip made to Dakan Funeral


10
          The State contends in its briefing that “Dr. Slaughter discussed his removal of C.W.’s eyes during
the autopsy.” (Dkt. 15 at 32 (emphasis added).) A close reading of the transcripts, however, indicates that
this is not precisely the case. In all of his court appearances, Dr. Slaughter generally testified about his
examination of the victim’s body, which occurred during the autopsy, but he never pinned down a
particular time frame with respect to the removal of the victim’s eyes. An inference could, of course, be
drawn that Dr. Slaughter was still talking about the autopsy when he testified as to the removal of the eyes
at the first and second trials.
          Arguably, an even stronger—and opposite—inference could be drawn from Dr. Slaughter’s
testimony at Petitioner’s preliminary hearing. In that hearing (his earliest testimony in this case) Dr.
Slaughter gave an answer that potentially can be construed as testimony that he removed the eyes after
the autopsy:

                Q.      And Doctor, after you completed the autopsy, did you—were
                        there documented retinal hemorrhages in [C.W.]?

                A.      Yes. I retrieved the eyes and sent them to the University of
                        California at San Francisco where they examined by an
                        ophthalmologic pathologist . . . and he documented retinal
                        hemorrhages.

(State’s Lodging A-41 at 96 (emphasis added).) It could be inferred that, despite the break in the
prosecutor’s question, Dr. Slaughter was speaking about his actions after the autopsy, given that the
prosecutor prefaced the question with that time frame, and Dr. Slaughter used the word “retrieved.”
         However, these ambiguities prove nothing. Rather, they show, at most, that Dr. Slaughter never
testified clearly as to when he removed the victim’s eyes.

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Chapel by the coroner’s office to collect [C.W.’s] eyes and the tissue samples.” Id. at

325-26 (emphasis added). And although the autopsy report states that Dr. Slaughter

performed biopsies of tissues from C.W.’s face, Detective Jim Miller’s report concluded

that facial tissue samples likely were taken after the body was released, at the same time

the eyes were removed.

       Detective Jim Miller came up with the following timeline, based on his interviews

with witnesses and his handwritten notes:

       12-27-96 (Friday)       At about 1530 hrs, Meridian Police respond to
                               [Petitioner’s address].

       12-28-96 (Saturday)     1038 hrs. [C.W.] dies at St Luke’s Hospital.

       12-29-96 (Sunday)       0800-0930 hrs, Lt. Gene Trakel and I attend
                               [C.W.’s] autopsy performed by Dr. Slaughter.

                               1145 hrs, Ken Hestead with Dakan Funeral Chapel
                               picks [C.W.] up.

                               1230 hrs, [C.W.] arrives at Dakan Funeral Chapel.
                               Doug Reinke notes [C.W.’s] eyes are brown, and
                               notes only bruises on his body.

                               1230-1430 hrs, Doug Reinke embalms [C.W.]

       12-30-96 (Monday)       Paul Kerr [with the funeral home] met with
                               [C.W.’s parents] to make arrangements. Viewing
                               set for 1700 hrs on 12-31-96, and funeral set for
                               1100 hrs on 1-1-97.

                               Paul Kerr said normally he would have prepared
                               [C.W.] for the viewing tomorrow, but for some
                               reason he doesn’t.

                               1730 hrs, Det. Joe Miller talks to Irwin Sonnenberg
                               who advises [C.W.’s] eyes have been taken.


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       12-31-96 (Tuesday)          1400 hrs, [C.W.’s mother] gives permission for x-
                                   rays.

                                   1530 hrs. I call Dakan and was told the coroner has
                                   already come and taken [C.W.].
                                   Paul Kerr states he transported [C.W.] to St. Luke’s
                                   for x-rays.

                                   1700 hrs. [C.W.’s] viewing has to be postponed
                                   because body is not ready.

       1-1-97 (Wednesday)          Paul Kerr has trouble repairing the incisions in
                                   [C.W.’s] body.

                                   About 0900 hrs, [C.W.’s] viewing is conducted at
                                   Dakan.

                                   1100 hrs, graveside services are held at Hillcrest
                                   Memorial Gardens.

(Id. at 330-31 (italics added).)

       Neither Detective Jim Miller nor Lt. Gene Trakel, both of whom attended the

autopsy, could later remember the eyes being removed at that time, though at least one of

these detectives may have left the autopsy before it was completed. (Id. at 325, 330;

State’s Lodging C-12 at 724.) Jim Miller testified that C.W.’s autopsy was the first he

had seen, and he believed that if he “was present when the eyes were taken from [C.W.’s]

body [he] would have remembered that.” (State’s Lodging C-12 at 703.)

       Detective Jim Miller’s investigation found that C.W.’s body arrived at the funeral

home at approximately 12:30 p.m. on December 29, 1996, after the autopsy was

completed and the body was released from State custody. Miller reported that C.W.’s

“eyes were intact and no facial bruising samples had been taken” prior to the embalming,


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based upon the mortuary report. (State’s Lodging A-4 at 331.) C.W.’s body was

embalmed by Doug Reinke between 12:30 and 2:30 p.m. on that same day, and Miller

concluded that “at some point after that, [C.W.’s] eyes were removed and tissue samples

of the bruising were taken.” (Id.) Detective Jim Miller’s notes regarding the coroner’s

discussion with Detective Joe Miller could suggest that the eyes were removed at the

funeral home on Monday, December 30, 1996—the day after the body was released from

State custody and embalmed. Detective Jim Miller’s handwritten notes, made during the

initial investigation of the crime, confirm that the coroner informed Detective Joe Miller,

on December 30, 1996, that the eyes had been removed:

       12-30-96      1520 hrs. I called Dakan Funeral Chapel . . . and was advised
                               [the] services will be on 1-1-97, at 1100 hrs.

                     1730 hrs (approx.), Joe (Miller) speaks with Irwin
                               Sonnenberg [the coroner]; [C.W.’s] eyes have been
                               taken, he will check on long bone x-rays being
                               done.

(Id. at 325.)

       Had the eyes been removed at the autopsy on December 29, there may have been

little reason on December 30 for the coroner to specifically inform Detective Joe Miller

of their removal. However, Detective Jim Miller later agreed with the prosecutor, during

post-conviction proceedings in 2011, that when Sonnenberg informed Detective Joe

Miller on December 30 that the eyes had been removed, Sonnenberg “could have just as

easily [been] referr[ing] to the autopsy the day before,” and that this statement could

simply have been in response to the detective’s attempts to “confirm[] whether or not



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certain things had been done, per [the prosecutor’s] request.” (State’s Lodging C-12 at

720, 724.)

       Alternatively, Detective Jim Miller’s report noted that the eyes could have been

removed on December 31, 1996, when C.W.’s body was taken back to the hospital for

long bone x-rays. (State’s Lodging A-4 at 325.) Jim Miller testified at the post-conviction

hearing that he had changed his opinion on when the eyes were removed. At that hearing,

he said he now believed they were removed at the autopsy, “probably after [he] left.”

(State’s Lodging C-12 at 724.)

       As Detective Jim Miller’s 2003 investigation recognized, the mortuary report

indicates that the eyes were still in C.W.’s body when C.W. was embalmed and that

facial tissues from the body had not yet been taken. The embalming report was prepared

by the funeral home that took custody of C.W.’s body after the State had released the

body once the autopsy had been performed. The report noted that C.W.’s eyes were

“Brown.” (State’s Lodging A-4 at 334.) Because Doug Reinke, the mortician who wrote

the report, embalmed C.W. after noting that his eyes were brown, this evidence strongly

suggested C.W.’s eyes had not been removed during the autopsy, but instead must have

been removed sometime after Reinke embalmed the body.

       Mr. Reinke testified during post-conviction proceedings (more than fourteen years

later) that he did not specifically remember embalming C.W.’s body. However, he said

that his having made a record that C.W.’s eyes were “brown” meant, unsurprisingly, that

the eyes were present in the body at the time he performed the embalming procedure.



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      Reinke also testified that he could not have mistaken C.W.’s actual eyes with

anything else that may have been placed in the eye sockets:

             Q.     Do you know whether or not his eyes were still
                    present?

             A.     I noted the color of his eyes as being brown.

             Q.     And how would you have known that?

             A.     By—

             Q.     By looking at his eyes?

             A.     By seeing them, yes.

             ....

             Q.     Were his eyes present at the time of embalming?

             A.     Based on seeing them as being brown I would believe
                    so.

             ....

             Q.     Have you seen cases where bodies that you’re
                    embalming, where the eyes had been removed?

             A.     Yes.

             ....

             Q.     During the preparation of the body for viewing or
                    burial, is there ever a prosthetic device that is put into
                    the eye socket?

             A.     Yes. There is something that—there are a couple of
                    methods that we use to try to regain the form of the
                    eye, the natural form of the eye.

             Q.     And what are those methods?




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             A.     Well, in an adult, there is a prosthetic eye that is
                    basically a marble of some type of plastic material that
                    can be used to replace the eye.

                    Oftentimes we use cotton because of its absorbency
                    to—because of the possibility of further leakage of the
                    fluids or a small amount of the fluids, we’ll use a
                    cotton pellet or cotton ball in the base of the eye
                    socket.

             ....

             Q.     Could you have mistaken any of these items that
                    would be placed in the eye socket with a natural eye?

             A.     I wouldn’t know under what circumstances I would do
                    that. It would not be a brown color typically.

(State’s Lodging C-12 at 580-84.)

      On cross-examination, Reinke explained that an eye cap was also sometimes used

in embalming but that he could not have mistaken an eye cap for a brown eye:

             Q.     And what’s an eye cap?

             A.     In preparing . . . human remains for viewing and
                    usually just prior to embalming taking place, the
                    eyelids are closed. And the eye cap is usually inserted
                    under the eyelids for two reasons really. One, you see
                    the perforated ridges on there. That helps keep the
                    eyelids closed. The second reason for an eye cap is
                    over time a person’s eye, and eyeball, can dehydrate.

             Q.     And shrink up?

             A.     Particularly the pupil will become indented.

             ....

             Q.     . . . This eye cap that you just identified as one that you
                    typically use was what color?

             A.     A flesh color, typically.

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              Q.     With just a shade of what?

              A.     Pink I would say.

              Q.     . . . It’s possible that you did not see [C.W.’s] eyes
                     when you wrote that down brown, isn’t it?

              A.     I don’t know why I would have written brown.

              Q.     Right. But I’m asking, is it possible that you just made
                     a mistake?

              A.     I just can’t see that.

(Id. at 587-88.)

       Reinke acknowledged that his report did not include all of the visible marks that

C.W. had on his body. For example, Reinke reported that the body had “Bruises,” but

wrote nothing in the space provided for “Evidence of Surgery,” even though there would

have been incisions and stitches on the body as a result of the autopsy performed by Dr.

Slaughter. (Id. at 590; State’s Lodging A-4 at 334.) But Reinke did indicate on the report

that an autopsy had been performed, so it was not as if he actually missed the autopsy

incisions on C.W.’s body. (State’s Lodging A-4 at 334.) It is also possible that Reinke did

not note the autopsy incisions as surgery because he did not consider an autopsy to be

“surgery,” which generally occurs while the patient is alive.

       Another employee from the funeral home, Paul Kerr, testified during post-

conviction proceedings that on December 31, 1996, when he was “just start[ing] to get

[C.W.] prepared” for viewing, he received a call requesting that C.W.’s body be taken

back to the hospital for long bone x-rays. (State’s Lodging C-12 at 602-05.) Kerr then

accompanied the body to the hospital and remained in the hallway while C.W.’s body


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was taken into the x-ray room. (Id. at 604.) When the x-rays were completed 15 or 20

minutes later, Kerr took the body back to the funeral home.

       After returning to the funeral home, Kerr prepared C.W.’s body for viewing. He

noticed “there were tissue samples taken out of [C.W.’s] face and those were still pretty

fresh.” (Id. at 606.) They were so fresh and moist that Kerr had “a very hard time getting

the wax [filler] to stick into those wounds.” (Id.) Kerr was unable to “get[] those incisions

dried out in order to make it to the time of the viewing.” (Id. at 607.) The viewing had to

be postponed. (Id.)

       When asked about the significance of what he had described as “fresh and moist”

wounds, Kerr testified that the wounds would have already been dry if the tissue samples

had been taken a day or two earlier. (Id.) In Kerr’s opinion, the facial wounds from taking

the tissue samples occurred “somewhere” within twelve hours of when he prepared C.W.

for viewing. (Id. at 608.) Kerr testified that if the tissue samples from the face had been

taken on December 29, as noted in the autopsy report, that would be “[d]efinitely

inconsistent” with the fact that the wounds were still moist on December 31: “[I]f they

were done at that time [on December 29] we would have had time to start working on

those so we wouldn’t miss our viewing deadline.” (Id. at 610.)

       Kerr’s testimony suggested that someone—either the pathologist, the coroner, or

someone else—removed facial tissue (and thus had the opportunity to remove the eyes as

well) a day or two after the body was embalmed—that is, on December 30 or 31. If the




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cuts removing the facial tissue were indeed made after embalming, it would also explain

why Reinke’s mortuary report did not note any facial lacerations on C.W.’s body.

       Detective Jim Miller testified during post-conviction proceedings that he

interviewed Kerr as part of his 2003 investigation. Miller remembered Kerr stating “that

he normally would have prepared [C.W.’s] body on the 30th,” but that “there was a very

good possibility he didn’t do so because he was waiting for the coroner’s office to come

out” to the funeral home. (Id. at 706.) The coroner, Mr. Sonnenberg, thought he was at

C.W.’s autopsy—even though he wasn’t—and Sonnenberg told Joe Miller on December

30, 1996, that C.W.’s eyes had been removed. Collectively, this evidence supports an

inference that Sonnenberg might have accompanied Dr. Slaughter to the funeral home on

December 30 and witnessed Dr. Slaughter remove C.W.’s eyes at that time.

       However, Kerr’s recollection does not establish that Sonnenberg, Slaughter, or

anyone else actually went to the funeral home to retrieve the eyes. Detective Joe Miller

testified that he remembered “some trips” between the coroner’s office and the funeral

home and recalled, in 2003, that those trips were to collect the eyes. But, by the time of

the post-conviction hearing in 2011, Joe Miller did not remember the purpose of those

trips, nor could he recall “whether it was trips the coroner was taking or it was that

[C.W.’s] body was moving in between those two locations.” (Id. at 742-43.)

       As discussed passim in this decision, when the eyes were removed is of critical

importance because Petitioner offered expert evidence that the macular or perimacular

folds seen in C.W.’s eyes—which, as Dr. Crawford testified, were “very highly specific”



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to shaken-baby cases (State’s Lodging A-9 at 776)—were, or at least could have been,

caused by postmortem embalming rather than by premortem shaking. The possibility that

this macular folding occurred after C.W.’s death was supported by Dr. Kent’s trial

testimony that he did not see any such folding when he examined C.W.’s eyes during life.

Though Dr. Kent stated that he could have missed seeing the folds, ophthalmologist Dr.

Steven Kane stated during post-conviction proceedings that, had the macular folds been

present in C.W.’s eyes when Dr. Kent examined them, Dr. Kent would, in fact, have

noticed the folds. (State’s Lodging C-43 at 2 (“I am unaware of an instance or published

report where perimacular folds were present but were not visible during life, except when

the eyes were completely filled with blood thus obscuring any direct visualization . . . .

[T]his was not the situation in the case of [C.W.]”).)

       Petitioner also submitted affidavits by Dr. Cyril Wecht, a forensic pathologist,

who stated that there was “no vital reaction, i.e., tissue response to injury or hemorrhage,

within the retina and maculae folds” in C.W.’s eyes. (State’s Lodging A-29, Ex. C-2 to

Brief in Supp. of Mtn. for New Trial.) Dr. Wecht also stated that embalming fluid would

have damaged the retinal layers and caused them to “appear as peri-macular folds.” (Id.)

Finally, Wecht stated, “To a reasonable degree of medical . . . and scientific certainty, it

is my opinion that the postembalming removal of the eyes caused the damage to and

around the macular and the retinal folds; or at the very least, that such a mechanism of

injury could not possibly be ruled out.” (Id.)




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        Forensic pathologist Patrick E. Lantz also provided affidavits regarding the

macular folding in C.W.’s eyes. Dr. Lantz averred that the macular folding was “not

consistent with occurring during life.” (State’s Lodging A-29, Ex. C-3 to Brief in Supp.

of Mtn. for New Trial (emphasis added).) Dr. Lantz stated that “[m]ost, if not all the

retinal detachments in both eyes appears artifactual consistent with the postmortem

period or processing”—in other words, the folding likely occurred after C.W.’s death.

(Id.)

        Dr. Crawford submitted a rebuttal affidavit, stating that the photographs of the

eyes taken while C.W. was alive were of poor quality and that he believed C.W.’s eyes

“were removed properly and not damaged during retrieval.” (State’s Lodging C-42 at 3-

4.) However, Dr. Crawford acknowledged that there was no way he could determine,

from his own examination, “whether the eyes had been removed before or after the body

had been embalmed.” (Id. at 2.) Dr. Crawford stated that he disagreed with the

conclusions of Drs. Wecht and Lantz and offered to send them additional slides that

“show[ed] the hemorrhages they did not see, but [Petitioner] declined that offer.” (State’s

Lodging A-6 at 691.)

        Dr. Wecht took issue with Dr. Crawford’s affidavit by stating that Dr. Crawford

failed to take photographs of the eyes, to make “appropriates notes,” or to “undertake[]

necessary investigative studies,” which rendered his opinions suspect. (States Lodging C-

40 at 3.) Dr. Lantz said that Dr. Crawford’s eye pathology report conflicted with his

affidavit and trial testimony (a conflict with which the post-conviction court later agreed,



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at least as to some of that trial testimony). Dr. Lantz also stated that the photographs

taken of the eyes while C.W. was alive “are of adequate quality to conclude that a

perimacular retinal fold was not present in the retina . . . during life,” and that it was

impossible for perimacular folds to be diagnosed by examining the microscopic sections

of the eyes submitted by Dr. Crawford. (State’s Lodging C-45 at 2.)

       Finally, Petitioner presented circumstantial evidence that one of the prosecutors

might have been aware of some sort of chain-of-custody issue with C.W.’s eyes prior to

being notified by defense investigator Elam in 2003. A “sticky note” written by Mr.

Sonnenberg’s former secretary indicates that prior to Mr. Elam’s prompting the 2003

investigation by Jim Miller, the prosecutor called the coroner’s office seeking Dr.

Crawford’s contact information because she “need[ed] to know chain of custody of

eyes.” (State’s Lodging C-17, State’s Ex. 149; C-18, Ex. DD.) Although the note is dated

December 9, 1996, that cannot possibly be correct, as C.W. died on December 28, 1996.

The phone number left by the prosecutor, however, was an “old” number for the

prosecutor’s office, used before the office relocated to the new Ada County Courthouse

in 2002. (State’s Lodging C-12 at 638-41.) Further, the post-conviction court appears to

have accepted Petitioner’s contention that the message was left “sometime before the

second trial” in 1998. (State’s Lodging C-11 at 2365.)

            ii.       The state post-conviction court’s finding of pre-release and pre-
                      embalming removal

       In considering Petitioner’s Brady claim, the post-conviction court first set forth the

following undisputed facts:


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              [C.W.] died on December 28, 1996, and his autopsy was
              scheduled for 8 a.m. December 29, 1996. [C.W.’s] autopsy
              was performed by Dr. Slaughter at St. Luke’s. Detective Jim
              Miller, Sergeant Gene Trakel and Dave Sherner attended the
              autopsy. At approximately 11:45 a.m. Ken Hestead took
              [C.W.’s] body to Dakan Funeral Chapel (Dakan). From
              12:30-2:30 p.m. [C.W.’s] body was embalmed by Mr. Reinke
              at Dakan. Mr. Reinke’s embalming report notes that [C.W.’s]
              eyes are brown. [C.W.’s] body was at Dakan all day on
              December 30. The viewing was scheduled for 5 p.m.
              December 31. Between 1:30 and 3 p.m. on December 31,
              mortician Paul Kerr took [C.W.] from Dakan to St. Luke’s for
              a long-bone x-ray. The x-ray took approximately 15-20
              minutes, and Mr. Kerr remained outside the x-ray room the
              whole time. Mr. Kerr testified that [C.W.’s] body looked the
              same before the x-rays as it did after. Mr. Kerr then returned
              to Dakan with [C.W.’s] body to prepare it for viewing. Mr.
              Kerr was unable to prepare [C.W.’s] body in time, and the
              viewing had to be postponed until January 1, 1997.

(State’s Lodging C-11 at 2366 (internal citations omitted).) The parties agreed that

“[s]ometime between 8:00 a.m. December 29 and December 31, [C.W.’s] eyes were

removed and tissue samples were taken from his face.” (Id.) The question was whether

the eyes were removed on the morning of December 29 at the autopsy (the State’s

position) or after the body was released and embalmed, either at the funeral home on

December 30 or at the hospital on December 31 (Petitioner’s position).

       The post-conviction court resolved the conflicting evidence as follows, which the

Court recounts in detail as necessary for consideration of Petitioner’s Brady claim:

              This issue appears to have arisen sometime after trial when
              irregularities started to come to the attention of Stevens’
              attorneys’ investigator, Glen Elam. Mr. Elam noticed there
              was no record concerning the chain of custody for [C.W.’s]
              eyes other than Dr. Slaughter’s testimony at a preliminary
              hearing. Mr. Elam also learned Dr. Slaughter’s final autopsy
              report did not document any removal of [C.W.’s] eyes. Mr.

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          Elam then discovered that after [C.W.] was embalmed at the
          funeral home, his body was taken back to the hospital on
          December 31. Mr. Elam has testified at hearing that all of
          these facts struck him as unusual. In August 2003, Mr. Elam
          contacted the prosecutor’s office to inquire about these
          irregularities. The prosecutor asked Detective Jim Miller to
          investigate Mr. Elam’s concerns. Jim Miller prepared a report
          which ultimately became the basis for Mr. Stevens’ claim.

                  In the report, Jim Miller comes to the conclusion that
          [C.W.’s] eyes were removed after his body was embalmed.
          This conclusion was based upon several findings. First,
          neither Jim Miller nor Gene Trakel remembers [C.W.’s] eyes
          or tissue samples being removed at autopsy. However, Jim
          Miller now admits that he does not know whether he stayed
          until the end of the autopsy. Second, Mr. Reinke’s embalming
          report notes that [C.W.’s] eyes are brown. Stevens argues that
          Mr. Reinke could not have noted that [C.W.’s] eyes were
          brown unless the eyes were in the body. Third, the
          embalming report has sections for “evidence of surgery” and
          “mutilation,” but these sections were left blank. Additionally,
          the embalming report notes that there are bruises on [C.W.’s]
          forehead and around his eyes despite the fact that Dr.
          Slaughter said he removed biopsies of [C.W.’s] bruises at
          autopsy. Fourth, Jim Miller’s report states that Detective Joe
          Miller told Jim Miller he thinks the eyes and tissue samples
          were collected at Dakan by Doug Tucker. However, Doug
          Tucker maintains that he has never removed eyes from any
          body at Dakan. Fifth, Mr. Kerr told Jim Miller he normally
          would have prepared [C.W.’s] body on December 30, but for
          some unexplained reason he waited until December 31.
          Stevens suggests the reason for the wait may have been
          because [C.W.’s] eyes and tissue samples were actually
          removed on December 30. Sixth, Mr. Kerr testified that he
          was unable to prepare [C.W.’s] body on December 31
          because the wounds on [C.W.’s] face were still moist.
          According to Mr. Kerr these wounds should have taken
          approximately 12 hours to dry. Stevens argues that because
          the wounds were still moist, the tissue samples could not have
          been removed at autopsy. Finally, Stevens points out that
          Dave Sherner’s notes from the autopsy do not list Mr.
          Sonnenberg as being present.


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                      The State responds by offering various explanations
              for the unusual facts of this case. First, the State claims the
              reason Jim Miller and Gene Trakel don’t remember the
              removal of the eyes or tissue is they did not stay for the entire
              autopsy. Second, the State points to Dr. Slaughter’s testimony
              stating, “as far as I know, I took the eyes at autopsy.” Dr.
              Slaughter also testified that the most likely reason why the
              removal of the eyes was not noted in the autopsy report is that
              his autopsy report templates do not have an area for eye
              notations. However, Dr. Slaughter went on to say that, “I’m
              assuming I took them at the time of autopsy because it would
              be unusual for me to do it at any other time. But I don’t have
              a specific memory.” Third, Dr. Slaughter’s final autopsy
              report appears to indicate that he took biopsies of [C.W.’s]
              face at autopsy. Fourth, Joe Miller never said that December
              30 was the day [C.W.’s] eyes were removed. He simply
              relayed this information to Jim Miller on December 30. Joe
              Miller never said what day the eyes were taken. Fifth, only
              licensed staff would have had access to [C.W.’s] body at
              Dakan, and neither Reinke nor Kerr remembers anyone from
              the coroner’s office coming to Dakan on December 30.
              Finally, Mr. Sonnenberg testified that he actually was at
              [C.W.’s] autopsy, but doesn’t recall when the eyes were
              taken.

(Id. at 2366-67 (internal citations omitted).)

       The court then stated that both parties “made a compelling case for their version of

events, but each version has its flaws”:

              The most compelling evidence in support of Stevens’ version
              of events comes from the two morticians at Dakan. First, Mr.
              Reinke’s report notes that [C.W.’s] eyes are brown. The most
              logical explanation for this notation is that [C.W.’s] eyes were
              still in his body at the time of embalming. However, there are
              other potential explanations. Possibly, Mr. Reinke was just
              careless in filling out the embalming report. Stevens’ second
              compelling piece of evidence comes from Mr. Kerr. Mr. Kerr
              testified that [C.W.’s] open wounds should have taken
              approximately 12 hours to dry. He also testified that when he
              began preparing [C.W.’s] body at noon on December 31 the
              wounds were still moist. This testimony suggests [C.W.’s]

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          tissue samples were taken the morning of December 31 or the
          evening of December 30.

                  The State has equally strong evidence in support of its
          claim that [C.W.’s] eyes were not removed on December 30
          or 31. First, Dr. Slaughter is the only person who has ever
          claimed to have removed or even seen [C.W.’s] eyes being
          removed. While he admits he does not clearly remember the
          exact instant he removed the eyes, he believes he removed
          them at autopsy. He testified he consulted with two forensic
          pathologists prior to the autopsy to be sure he did everything
          correctly. He knew the eyes would be important so he
          removed them and placed them in a fixative to preserve them
          for the ophthalmologist. The reasonable inference is that the
          eyes were removed at the autopsy on December 29, prior to
          embalming. This testimony carries weight considering no
          other witness has claimed to know when [C.W.’s] eyes were
          removed. Second, the State points out that [C.W.’s] body was
          stored at Dakan the entire day of December 30 and only
          licensed staff would have had access to his body. The State
          also points out that no one from the coroner’s office or Dakan
          has a memory or record of anyone going to Dakan to remove
          [C.W.’s] eyes. While Jim Miller’s original report indicated
          that Doug Tucker may have done this, Mr. Tucker has
          subsequently testified he has never removed eyes from a body
          at Dakan.

                  Stevens has certainly raised doubts about whether
          [C.W.’s] eyes and tissue samples were removed at autopsy.
          The embalming report and Mr. Kerr’s testimony are evidence
          that [C.W.’s] eyes were not removed until after embalming.
          Under Stevens’ version of events, [C.W.’s] eyes had to have
          been removed on December 30 or 31. However, according to
          all accounts [C.W.’s] body remained at Dakan for all of
          December 30, and there is no indication anyone from the
          coroner’s office came to remove the eyes or that they would
          have been able to access the back room without permission
          from someone at Dakan. The problem with the theory of
          removal on December 31 is that [C.W.] was only at St.
          Luke’s for approximately 15-20 minutes for the long bone x-
          ray and mortician Kerr remained outside the x-ray room the
          entire time. In this time, Dr. Slaughter, or someone else,
          would have had to remove the eyes and take the long bone x-

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              rays. While Mr. Reinke did say eyes can be removed in 10-15
              minutes, the 15-20 minutes [C.W.] spent at St. Luke’s is a
              small time frame in which to perform these tasks and it is
              unlikely the eyes would be removed in an x-ray room.

                       There are several other problems with Stevens’ version
              of events. For instance, in one version of Stevens’ timeline
              the State removed [C.W.’s] eyes on December 31. The
              problem with this is Mr. Kerr observed [C.W.’s] face wounds
              on December 31 prior to the second long-bone x-ray. This
              would mean the coroner took biopsies of [C.W.’s] face on
              December 30 but for some reason waited until December 31
              to remove [C.W.’s] eyes. This seems illogical. The Court also
              has trouble with Mr. Kerr’s testimony that [C.W.’s] face
              wounds would only take about 12 hours to dry. Mr. Kerr
              testified he first observed [C.W.’s] wounds around noon on
              December 31, at which point they were moist. If the wounds
              were no more than 12 hours old, it would mean the coroner
              took these biopsies sometime between midnight and noon on
              December 31. Again, it seems illogical the coroner would
              wait until the middle of the night to take these samples. It also
              seems unlikely that no one from Dakan would have a memory
              of this. Finally, Stevens suggests all of the State’s witnesses
              have a reason to lie to cover up their sloppy work. The
              problem with this is it was actually Detective Miller who first
              suggested that [C.W.’s] eyes were removed postembalming.
              If this is a case where the State made a mistake and tried to
              cover it up, why would Jim Miller have prepared a report that
              indicates [C.W.’s] eyes were removed post-embalming? If
              this were a cover up, it seems Miller would have simply
              written a report that indicated the eyes were removed at
              autopsy. Despite these problems, Stevens still has the
              embalming report which strongly suggests that [C.W.’s] eyes
              were present at the time of embalming.

(Id. at 2367-69 (internal citations omitted).)

       After considering all of this evidence, the post-conviction court found that the eyes

were removed at the autopsy, before the body was released and embalmed. With respect

to Doug Reinke’s mortuary report, which noted that C.W.’s eyes were brown—and, thus,


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indicated the eyes were in place when the body was embalmed—the Court found that

“the most logical explanation for the brown eyes notation in Mr. Reinke’s embalming

report is simple carelessness” and that “several sections of Mr. Reinke’s report support

[that] finding”:

              First, in the section where Mr. Reinke is to list “scars” and
              “wounds” he only states “bruises on forehead around eyes.”
              This is a very incomplete description of the scars and wounds
              present on [C.W.’s] body on December 29. By the time Mr.
              Reinke received [C.W.’s] body it had bruises on the face and
              back. [C.W.’s] skull and abdomen had also been cut open at
              autopsy and sewn back together. Additionally, if Dr.
              Slaughter’s autopsy report is correct, and [C.W.’s] face was
              biopsied, there would have been open wounds in addition to
              the bruises on [C.W.’s] face. These additional wounds were
              not noted in the embalming report. Second, in the section
              entitled “evidence of external wounds” Mr. Reinke only noted
              “bruises.” Again, this description leaves out all the additional
              wounds that [C.W.] would have had from autopsy. Third, Mr.
              Reinke left the section entitled “evidence of surgery” blank
              even though Dr. Slaughter had just finished sewing up
              [C.W.’s] scalp and abdomen. Finally, Mr. Reinke incorrectly
              notes that [C.W.] is 10 months old when [C.W.] was actually
              11 months old.

(Id. at 2369-70.) Based on the report’s failure to note the above injuries, the court stated,

“A complete review of Mr. Reinke’s embalming report suggests to this Court that Mr.

Reinke filled out the embalming report hastily and inadvertently wrote down that

[C.W.’s] eyes were brown.” (Id. at 2370.)




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           iii.      The factual finding that C.W.’s eyes were removed at the autopsy
                     was unreasonable in light of the evidence presented to the state
                     court, and thus this Court need not apply the presumption of
                     correctness

       Petitioner challenges the substance of the post-conviction court’s finding. Thus,

Petitioner must establish that a court “‘could not reasonably conclude that the finding is

supported by the record.’” Hibbler, 693 F.3d at 1146 (quoting Taylor, 366 F.3d at 1000).

After a careful review of the entire state court record, the Court concludes this is a rare

case that meets that requirement. The post-conviction court’s finding that C.W.’s eyes

were removed before the release of the body and before embalming was unreasonable in

light of the evidence presented to that court.

       Nearly all of the evidence as to when Dr. Slaughter removed the eyes was

equivocal. First, although the memories of the individuals involved tend to show that the

eyes were removed after the body was released and embalmed, those memories are far

from conclusive. No one remembers the eyes being removed at the autopsy. In 2003,

Detectives Jim and Joe Miller both recalled the eyes being removed a day or two after the

autopsy at the funeral home, and neither detective ever explained why he would have had

that memory if the eyes were taken at the autopsy. Also, Detective Jim Miller testified

that Kerr told him, as part of his 2003 investigation, that Kerr may have waited to prepare

the body for viewing “because he was waiting for the coroner’s office to come out” to the

funeral home, which provided an opportunity for the eyes to be retrieved at the funeral

home after the body was released from State custody. (State’s Lodging C-12 at 706.)

However, at the time of Jim Miller’s investigation, nearly seven years had passed.


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       After that investigation, another eight years would pass before the post-conviction

hearing. Mr. Kerr testified at that hearing that the wounds on C.W.’s face, from the taking

of tissue samples, were still moist on December 31, 1996, and that this fact was

inconsistent with the theory that they were inflicted at the autopsy on December 29 as Dr.

Slaughter’s autopsy report stated. This testimony suggests that at least some work to the

body was done after the date of the autopsy, but it does not definitively establish the date

the facial tissue samples or the eyes were taken.

       Dr. Slaughter’s autopsy report also reveals nothing definitive about the removal of

the eyes. The report does not reflect that the eyes were removed at the autopsy. Dr.

Slaughter testified that there was not a specific place in the autopsy report template to

record the removal, because generally autopsies did not include eye removal. Though the

post-conviction court determined that this must have been why Dr. Slaughter did not note

the removal of the eyes in his report, his testimony actually cuts both ways. Given that

removing eyes at an autopsy was uncommon, a competent pathologist would have noted

such removal on the autopsy report, even if there were not a ready-made space on the

form calling for that information. That is, because removing the eyes was such an unusual

thing for Dr. Slaughter to do, one could conclude that the eyes were not removed at the

autopsy because, had they been removed, Dr. Slaughter sensibly and appropriately would

have made that part of his autopsy record. This is particularly so given Dr. Slaughter’s

emphasis upon his having consulted with two other doctors about whether to remove the

eyes and what to do with them after removal.



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        As to the message left by the prosecutor with the coroner, indicating that she

“need[ed] to know chain of custody” of the eyes, that message is ambiguous as to

whether the prosecutor knew of a problem in the chain of custody of those eyes. The

message was most likely left before the first or second trial, as there would be no reason

to ask about the chain of custody of the eyes after Petitioner’s conviction but before

defense investigator Elam first contacted the prosecutor about the question of when the

eyes were removed. (Reply, Dkt. 23, at 17; see also State’s Lodging C-11 at 2365

(discussing the message that was left “sometime before the second trial”).) Regardless, as

the state post-conviction court described, the message does not prove that the prosecutor

actually knew (or suspected) there was a break in the chain of custody or, more

specifically, that the eyes were removed after the body was released and embalmed. It

definitively proves only that the prosecutor believed she “need[ed] to know about” that

chain of custody. (State’s Lodging C-11 at 2365.)

        Perhaps a reasonable inference from the message is that the prosecutor was aware

of some sort of potential problem in the chain of custody of C.W.’s eyes. However, it is

also reasonable to infer that the prosecutor was simply concerned with establishing that

chain of custody as is prudent for every piece of evidence in a criminal trial. The message

does not prove that the prosecutor knew with certainty the timing of the removal of the

eyes or that the prosecutor acted in bad faith in avoiding her Brady responsibilities.11


11
         The Court does not disturb the post-conviction court’s finding that the prosecutor lacked actual
knowledge of the allegedly post-release and post-embalming removal of the eyes. A review of that
finding is unnecessary, as a prosecutor’s obligations, under Brady, to discover favorable evidence apply
even if the prosecutor acts in good faith.

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       What is left then, are various pieces of evidence presented in the state court

proceedings that have some relevance as to when C.W.’s eyes were removed, but most of

which are individually and collectively ambiguous. The only unambiguous evidence is

Reinke’s mortuary report. As such, the mortuary report is particularly critical, and is the

only contemporaneous and unambiguous documentary evidence regarding C.W.’s eyes.12

The mortuary report is extremely strong evidence that the eyes were removed post-

embalming, because Reinke (a professional mortician) noted that C.W.’s eyes were

“brown” and therefore were present in the body when it was embalmed.

       If the Court were reviewing all of this evidence in the first instance, the Court

would find—based primarily on the mortuary report (as well as the 2003 recollections of

Detectives Jim and Joe Miller)—that the eyes were removed after C.W.’s body was

released to the funeral home and embalmed. However, that is not the question under

AEDPA. Rather, the question is whether this evidence of post-release and post-

embalming removal is so convincing that it renders the state court’s contrary finding

unreasonable. The answer to that question is “yes.” The evidence is so compelling and

convincing as to render the state court’s finding unreasonable. Specifically, the

significance of the embalming report cannot be overstated. In contrast to the state post-




12
        Jim Miller’s contemporaneous investigation notes indicate that Sonnenberg informed Joe Miller
on December 30, 1996 that the eyes had been removed. This evidence was ambiguous, as the notes prove
only that Sonnenberg relayed this information to Joe Miller on December 30, not that the eyes were
removed on December 30.

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conviction court, this Court concludes that the report’s notation of the presence of the

eyes at embalming cannot reasonably be interpreted as resulting from neglect or mistake.

       It is true that Reinke failed to note in the report all of the post-autopsy wounds

present on C.W.’s body and was off by one month when reporting C.W.’s age. However,

it was unreasonable for the state court to conclude that this failure supported a finding

that Reinke made a mistake when he noted that C.W.’s eyes were present in the body at

the time of embalming. Failing to report a wound or a bruise, or making a one-month

mistake in age, is one thing. A mortician reporting the color of a pair of eyes when there

are no eyes in the body for the mortician to examine is another thing entirely. The State

attempts to minimize the significance of the report by stating that “the color of the eyes

was not even important to the embalming process.” (Dkt. 28 at 11.) But that fact does not

matter at all. The color of the eyes is not what is important here—it is the presence of the

eyes at the time of embalming.

       Reinke had C.W.’s body before him on the embalming table for approximately

two hours during the embalming process. He saw and touched C.W.’s body in performing

the embalming process. Reinke had the somber responsibility to prepare the body of an

eleven-month old child for burial. He had no reason to either misstate the information, or

to shirk his duty in reporting the color of the child’s eyes. It defies common sense to

conclude that Reinke would not have observed that the eyes were missing, or that even if

he had observed that the eyes were missing to then report that the “missing” eyes were

brown in color. Instead, the only reasonable inference from Reinke’s notation that C.W.’s



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eyes were brown, and from Reinke’s related unequivocal testimony, is that the eyes were

present in the body at the time of embalming. The Court agrees with Petitioner that “it is

contrary to all human experience to conclude that a competent adult would not be able to

tell a pair of brown eyes from two empty eye sockets, especially if that adult is also a

trained mortician, like Mr. Reinke.” (Dkt. 23 at 16.)

       Further, anything that might have been used in place of eyes in C.W.’s eye

sockets, such as a cotton ball or an eye cap as Reinke testified, would have been placed

there by the embalmer—by Reinke himself. (See State’s Lodging C-12 at 587 (testimony

by Reinke that eye caps are placed into the eyes “just prior to embalming”); id. at 660-62

(testimony by Sonnenberg that he had never seen an eye cap placed into an eye or eye

socket and that there would have been no reason for the pathologist or himself to insert

any sort of cap onto C.W.’s eyes).) Reinke would certainly have known the eye sockets

were empty, and thus would not have recorded the eyes as brown, if he had placed

anything into empty eye sockets.13

       Thus, it was unreasonable for the state post-conviction court to find that Reinke’s

notation that the eyes were brown was a result of carelessness. Such a finding would

mean that Reinke failed to notice that the body had no eyes, or knew that the body had no

eyes, and yet mistakenly or falsely wrote that the absent eyes were brown. And where

would Reinke have gotten the information about C.W.’s eye color if the eyes had already




13
       No one has ever contended that C.W.’s eyes were not brown.

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been removed, even if there had been any reason whatsoever to search for such

information?

        There is neither ambiguity nor carelessness on this record in the fact of a

mortician’s notation of the color of C.W.’s eyes, and such evidence can only reasonably

be explained as a contemporaneous record of first-hand observation in the embalming of

C.W.’s body, made by the mortician who was performing the procedure. The embalming

report is sufficient—convincingly sufficient—to render unreasonable the post-conviction

court’s finding that removal of the eyes occurred before the release and embalming of the

body.

        The embalming report is the only unequivocal evidence regarding whether the

eyes were removed before or after release and embalming. It is also the only

contemporaneous evidence regarding C.W.’s eyes at all—other than the handwritten

notes Detective Jim Miller took during the investigation, which noted that on December

30, 1996, the coroner who advised Detective Joe Miller that C.W.’s eyes “have been

taken.” (State’s Lodging A-4 at 325.) Further, the mortuary report is corroborated by the

two detectives’ statements made in 2003, eight years before Jim Miller testified as to his

changed opinion about when the eyes were removed, that they remembered the eyes

being collected at the funeral home a day or two after the autopsy.

        Hence, it was unreasonable for the state post-conviction court to discount the

embalming report. As evidence of the timing of the removal of the eyes, the embalming

report and Reinke’s testimony, especially when considered with the detectives’ 2003



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recollections, are simply too compelling and convincing, and the state court’s contrary

finding was unreasonable under 28 U.S.C. § 2254(d)(2). Therefore, the Court is not

bound by the finding of pre-release and pre-embalming removal when considering

Petitioner’s Brady claim.

       B.     The Prosecution Failed to Disclose Material Impeachment Evidence to
              the Defense

       As explained above, the elements of a Brady claim are: (1) the evidence must be

favorable to the accused, either because it is exculpatory or because it is impeaching; (2)

the prosecution must have withheld the evidence, either intentionally or inadvertently;

and (3) the evidence must be material to guilt or punishment. Strickler, 527 U.S. at 281-

82. Petitioner has established all three elements.

       The evidence regarding post-release and post-embalming removal of C.W.’s eyes

was favorable to Petitioner because it was impeaching. Had the evidence been disclosed,

Petitioner could have used it to call into question Dr. Crawford’s findings regarding the

eyes—particularly the macular folds—based on the break in the chain of custody of the

eyes and the possibility that the macular folding was a result of embalming. This

evidence offered an alternative reason for the fact that Dr. Crawford saw macular folds

but Dr. Kent did not. See Bagley, 473 U.S. at 677. Thus, the first prong of Brady is

satisfied.

       The second prong of Brady—that the government failed to disclose the

evidence—is also satisfied. The doctor who performed the autopsy, the coroner, and at

least two police officers were aware of the timing of the removal of the eyes. Inescapably


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then, the information was in the possession or control of members of the prosecution’s

investigative team, notwithstanding that the prosecutor herself may have been unaware of

it. See Kyles, 514 U.S. at 437 (“[T]he individual prosecutor has a duty to learn of any

favorable evidence known to the others acting on the government’s behalf in the case,

including the police.”).

       Third, and finally, the Court concludes that, considered collectively, the

undisclosed impeachment evidence was material. See id. at 433-34. As recognized in the

state court proceedings and decisions, the prosecution’s case against Petitioner rested

centrally and critically upon a battle of the experts as to whether C.W. had been shaken.

Dr. Crawford’s testimony regarding the presence of macular or perimacular folds was the

strongest evidence that C.W. was shaken. Dr. Crawford testified in absolute terms that (1)

he had never seen such macular folds in any case other than shaken-baby cases, (2) he

knew of only two other cases where such folds existed without violent shaking, and (3)

there was “no other way to explain” C.W.’s injuries. (State’s Lodging A-9 at 789; see

also State’s Lodging A-6 at 690.) Petitioner’s trial experts, who were not

ophthalmologists, were not able to effectively counter this testimony.

       The criminal case against Petitioner placed strongly disparate arguments and

myriad pieces of disputed evidence before the two juries. In the first trial, the jury was

unable to reach a verdict. In the second trial, with qualified scientific experts testifying

for both sides, Dr. Crawford’s testimony about the macular folds in the eyes was the

strongest evidence of shaking that the jury heard. The testimony of Drs. Thibault and



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Plunkett, who either disagreed with Dr. Crawford’s testimony that macular folds almost

always indicate shaking or who stated that no one really understands the significance of

macular folding, must have been attenuated in the jurors’ minds when considered

alongside the confident testimony of Dr. Crawford, who specialized in eye injuries. In

that courtroom, an alternative reason for the presence of the macular folds in the form of

some credible reason other than Petitioner having violently shaken C.W., might well have

raised reasonable doubt. Accordingly, the Court concludes it is reasonably probable that

the evidence of post-release and post-embalming removal of the victim’s eyes may have

made the difference between the jury finding reasonable doubt in the prosecution’s case,

or finding beyond a reasonable doubt that Petitioner was guilty of the crime. Therefore,

the evidence of post-release and post-embalming removal was material. See Bagley, 473

U.S. at 676.

       To be entitled to relief, Petitioner need not show that the evidence of post-release

and post-embalming removal of the eyes, if disclosed, would have convinced the jury of

Petitioner’s version of the facts. Rather, he need only show a reasonable probability of a

different result. He has done so.

       The “root principle” of the Great Writ “is that in a civilized society, government

must always be accountable to the judiciary for a man’s imprisonment.” Fay v. Noia, 372

U.S. 391, 402, (1963), overruled in part on other grounds by Wainwright v. Sykes, 433

U.S. 72 (1977). Although the writ of habeas corpus is not readily or regularly granted, it

remains an essential, time-tested tool that “enabl[es] an inquiry into the legality of an



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individual’s confinement,” thereby “safeguard[ing] the integrity of the criminal justice

process.” Limin Zheng, Actual Innocence as A Gateway Through the Statute-of-

Limitations Bar on the Filing of Federal Habeas Corpus Petitions, 90 Cal. L. Rev. 2101,

2109 (2002) (citing Ex parte Watkins, 28 U.S. 193, 7 L. Ed. 650 (1830)). After a lengthy

period of careful scrutiny of this case, this Court has come to the conclusion that the

decisions of the state courts described at length herein do not withstand the scrutiny of a

habeas corpus lens. It is beyond argument that the prosecutor was required to discover

and disclose material impeachment evidence—that C.W.’s eyes may have been removed

after the body was released to the funeral home and embalmed. That did not happen.

Therefore, due process was not afforded to Petitioner, and he is entitled to habeas relief

on his Brady claim.

                                     CONCLUSION

       For the foregoing reasons, the Court concludes that the Idaho Court of Appeals’

decision on Petitioner’s Brady claim constitutes an unreasonable application of clearly-

established Supreme Court precedent and that the lower post-conviction court’s factual

finding of pre-release and pre-embalming removal of the victim’s eyes was unreasonable

and, therefore, not entitled to a presumption of correctness. The Court also concludes, on

de novo review, that the State prosecution team did not disclose favorable material

evidence to the defense in violation of the settled law of Brady v. Maryland.

       Therefore, the Court finds in favor of Petitioner on Claim 1 of the Petition.




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                                        ORDER

      IT IS ORDERED that Claim 1 of the Petition for Writ of Habeas Corpus (Dkt. 1)

is GRANTED, and the Court issues a conditional writ of habeas corpus. The State must

release Petitioner or begin new trial proceedings against him within 120 days.



                                  DATED: February 7, 2018




                                  Honorable Ronald E. Bush
                                  United States Magistrate Judge




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